    Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                             Exhibit LLL pt.1 Page 1 of 100







            EXHIBIT LLL
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 2 of 100




                                 EX. LLL - 001
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 3 of 100




                                 EX. LLL - 002
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 4 of 100




                                 EX. LLL - 003
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 5 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 6 of 100
t




    Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                             Exhibit LLL pt.1 Page 7 of 100




                                     EX. LLL - 006
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 8 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 9 of 100




                                 EX. LLL - 008
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 10 of 100




                                 EX. LLL - 009
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 11 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 12 of 100




                                 EX. LLL - 011
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 13 of 100




                                 EX. LLL - 012
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 14 of 100




                                 EX. LLL - 013
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 15 of 100




                                 EX. LLL - 014
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 16 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 17 of 100




                                 EX. LLL - 016
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 18 of 100




                                 EX. LLL - 017
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 19 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 20 of 100




                                 EX. LLL - 019
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 21 of 100




                                 EX. LLL - 020
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 22 of 100




                                 EX. LLL - 021
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 23 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 24 of 100




                                 EX. LLL - 023
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 25 of 100




                                 EX. LLL - 024
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 26 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 27 of 100




                                 EX. LLL - 026
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 28 of 100




                                 EX. LLL - 027
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 29 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 30 of 100




                                 EX. LLL - 029
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 31 of 100




                                 EX. LLL - 030
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 32 of 100
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 33 of 100




                                 EX. LLL - 032
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 34 of 100




                                 EX. LLL - 033
Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                         Exhibit LLL pt.1 Page 35 of 100
www.cltlcards.cnrn
ROBIN C DINING-G l0
i-B_D-T HRNK‘ED LPG-ED Ell-8426595}
2016 totals year-to-date I - I I
see-mo __ |
Total fees charged in 2016
$107.78 I
' Interest charge calculation Days in billing cycle132 |
join Annual-Percentage Rate (APR) nnnuaiinletesl rate on your account. . I
Annual parcenta a Balance subject
rate (AP ) to interest rate Interest charge
Balance type
'i_éié_éé_i_jIIiITT'.ZIIIIiIZII""""'
Standard Fur ch
_...Lennie.........§§:§3§;?1£92.......IIII_Z___.......§§.i£i€
""'536%WSW"""""§6266'£6§"' $0.00




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Your Annual Percentage Rate (APR) Is the annual Interest rate on your account. APRs followed
by W] may vary. Balances followed by (D) are determined by the daily balance method
[Including current transactions).
Account messages
Remember. any charges above your revolving credit limit MUST BE PAID IN
FULL by your statement's payment due date.
Page a w o




                                                                                                                        Exhibit LLL pt.1 Page 36 of 100




                                                                                                                                EX. LLL - 035
SlTE:SD-Cl TM:LG-5000 ACID:P8711850
07/10/17 12:24:13
ROBIN C DIMAGGIO
Member Since 2015 Account number ending in: 1939
Billing Period: 05/07 l16-OT/06I16
Minimum payment due:
New balance:
Payment clue date:
$59.42
$2,388.32
08/02/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning:
period. you will pay more in interes




                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
If you make no additional
If you make only the minimum payment each
You will pay off the
t and it will take you longer to pay off your
And you will end up
charges using this card balance shown on this paying an estimated
and each month you pay... statement in about... otal of...
Only the minimum payment 12 year(s) $4.571
52.988
533 3 Year“) (Savings= $1.583)




                                                                                                        Exhibit LLL pt.1 Page 37 of 100
For information about credit counseling services. call i-877-337-8187.
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
1* 117
AGOURA HILLS CA 91301-1601
How to reach us
www.citlcards.com
i-BOO-THANKYOU(l-800-842-6596)
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Previous balance 54.72734
Payments £5,227.49
Credits -$0.00
Purchases +$2,841.55
Cash advances +5000
Fees +5000
Interest +S46.42
New balance $2,366.32
Credit Limit
Revolving Credit limit $10,500
Includes $3.200 cash advance limit
Ki'éiiéBié"_EJBiViHE‘E’EE'Eiii """"""""""""" semi"
includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 06/30/16
42,181
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $69.42
New balance $2,388.32
Payment due date 08/02/16
Amount enclosed:
Account number ending in 1939
CLTI CARDS
PO BOX 78045
Phoenix. AZ 35062-8045




                                                                                                                EX. LLL - 036
ROBIN C DIMAGGIO
www.cltlcaras.com Page r. m r.
l-BOO‘THANKYOU(l-BOO-842-6596)
Account Summary
Trans. Post
date date Deseriptim
....,.. .1 ma... mum-c u- u-u - - - - -~---I-—
Payments. Credits and Adjustment:
_ carer PAVMEHT THANK 'lOIJ
Standard Purchases
gene _ eerie BEVERAGES 5 MORE #39 THGUSAND ones CA
2222
.
OHS-t.....EETE_l_e_tEE’FFPEEEIT.&.i_9}£tt____t_._....
harass
Fees charged




                                                                                           Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Total. {are charged in this hillinla puma sooo
Interest charged
Dala mutation
Total Interest charged in this lilting period
I
eats totals year-to-date
Total [an charged in z_l_
LL Total htereat charged In 205
EH."
51542:!
Interest charge calculation Daysinbiiling :yeeao




                                                                                                                    Exhibit LLL pt.1 Page 38 of 100
lnaual percent Ialance au ct
.MWFIE' ‘tilttm‘t EFF ‘E_f'm'__‘
Standard Purch
Standard Adv
filli'ééeatal__.I'iééé__iiiEéIfILZ
Your Amuai Percentage Rate MFR: is the med interest rate on your account. APR: lolloared
by W} may vary. Bahamas lofloered av 03] are delennlned by EM daily bat-ante mil-lad
[Meiedlng cmanl trea'iiartlo_sl.
Account messages
Remember. any charges above yeur revolving credit limit HUST BE PAID ll-l
FULL by your statement's payment due date.
"Lilies-Let;
Health“ 'lDt $91D231539T2T993
Thal‘lll‘l'dtl Points Earned This Period
3:: on Travel
including Gas Stations + 5313
2:: on Dining
and Entertainment + 544
lit on other Purchases + 3.393
Total Earned 3.4451
» Visit thankyou.com
to redeem points or see
full rewards details
Bonus Points may talle one to two billing
cycles to appear on yellsr statement. Please
refer to the speoitie terms and tmditiuns
perlalning to the promollon for lurther
details.




                                                                                                                            EX. LLL - 037
SlTE:SD-C| TMzLG-SOOO ACID:P8711850
07/10/17 12:24:18
ROBIN C. DIMAGGIO
Member Since 2015 Account number ending in: 1939
Billing Period: 07/07/‘6-08/04/16
Minimum payment due: $56.00
New balance: $3,747.90
Payment due date: 09/02/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed above. you may have to pay a late lee ol up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services, call 1-877-337-8187.
000000 PW 00 A 0
ROBlN C DIMAGGIO
5737 KANAN RD
11 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGOURA HILLS CA 91301-1601
How to reach us
www.clticards.com
l-BOO-THANKYOU(1-800-842-6596)
BOX 6500 Sioux FALLS. SD 57117
Account Summary
Previous balance $2,388.32
Payments -$2,588.32
Credits -$0.00
Purchases +53,947.90
Cash advances +5000




                                                                                                        Exhibit LLL pt.1 Page 39 of 100
Fees +$0.00
interest +$0.00
New balance $3,747.90
Credit Limit
Revolving Credit limit $10,500
Includes $3,200 cash advance limit
Xi'éiié’_ié_'é’iéiiii__'E'Elé_ii """"""""""" "é'éli‘sé"
includes $3.200 available for cash advances
Total Thanerou Member
Available Point Balance:
as of 07/31/16
1,779
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $56.00
New balance $3,747.90
Payment due date 09/02/16
Amount enclosed:
Account number ending in 1939
C'.Tl CARDS
PO BOX 78045
Phoenix, AZ 55062-5045




                                                                                                                EX. LLL - 038
ROBIN C DIMAGGIO
www.cltlcards.com Page 2 of 2
l-BOO-THANKYOUU-BOO-B42-6596)
Account Summary
Trans. Post
date date Description Amount
Payments, Credits and Adjustments
......... .. PAYMFNT THANK YOU _. . . ‘52599-33
__ _ 70' Noooo '
Standard Purchases
07108 07108 ENTERPRISE RENT-A-CAR THOUSAND OAKS CA $200.00
PHONE NUMBER: 8053730788
NAME: DIMAGGIO n
....
.... .._____?_a_gm_.6Kk.§.......tx.__ég_g..__............................_....
....




                                                                                                                Case 1:17-ap-01099-VK                  Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
said: """"o'aioi"""'kcii_é_'si_é‘c'i_'sLi_iiNEE"a‘oo_ss'i§i§""ii""'"'"""""""'§i§é§6
aéa_gdbo ...... .61 A_géum
""""" " TRKi/ELIN WITH THERESA via-625154656?""""""“"§§;s§§:ad
Fees cha rged
Total fees charged in this billing period 50-0”
Interest charged
Total interest charged in this billing period 50-00
. ._ . . 1
i 2016 totals year-to-date
Total fees charged in 2016 $25.00
| Total interest charged in 2016 $154.20 _!




                                                                                                                                                        Exhibit LLL pt.1 Page 40 of 100
[Interest charge calculation Days in billing cycle:29
Your Annual Percentage Rate (APR) is the annual interest rate on your account. I
Annual percents a Balance subject
rate (AP 1 to interest rate Interest chargei
Balance type
"HS-tanda'iomPurch 15.49% (v) $0.00 (D) 50.00
!I:é:éié_§:é§::luv_vel'11—------...... ...........-................................._.....-......................................................._I
Standard
Your Annual Percentage Rate (APR) Is the annual interest rate on your account. APRs followed
by (V:I may vary. Balances followed by (D) are determined by the daily balance method
(Including current transactions).
Account messages
Remember, any charges above your revolving credit limit MUST BE PAID IN
FULL by your statement's payment due date.
Our records show your home phone number is BIO-6898318 and business
number is 000-000-0000. If either is incorrect. please update your account
online at www.citicards.com or call us at l-BOO-THANKYOUtl-800-842-6596).
Your account has an annual membership fee of $95.00 which will appear on
your next billing statement. Variable rates vary with the market based on the
U5. Prime Rate. The variable Penalty APR (which is based on your
creditworthiness) may apply if you make a late payment or a payment that is
returned. If it is applied, it will stop applying to existing balances it you make
the next six consecutive minimum payments when due. However, it may
apply to new transactions indefinitely. See back for important information.
Member [0: 3910231539727993
ThankYou Points Earned This Period
3x on Travel
including Gas Stations + 11,367
2x on Dining
and Entertainment + 0
ix on other Purchases +159
Total Earned 11,526
» Visit thankyou.com
to redeem points or see
full rewards details
Bonus Points may take one to two billing
cycles to appear on your statement. Please
refer to the specific terms and conditions
pertaining to the promotion for further
details.




                                                                                                                                                                EX. LLL - 039
SITEst-Cl TM:LG-5000 ACID:P8711650
07/10/17 12:24:13
ROBIN c DIMAGGIO
Member Since 2015 Account number ending in: l939
Billing Period: 08/05/16-09/06/i6
Minimum payment due: $25.00
New balance: $87.13
Payment due date: 10/02/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed above, you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
For information about credit counseling services. call 1-877-337-8187.
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
it 117




                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
AGDURA HILLS CA 91301-1601
How to reach us
www.cltlcards.com
l-BEl0-THANKYOU(l-800-842-6596)
30X 6500 SIOUX FALLSr SD 57"?
Account Summary
Previous balance $3,747.90
Payments -$12,252.09
Credits -$0.00
Purchases +$B.496.32
Cash advances +$0.00




                                                                                                        Exhibit LLL pt.1 Page 41 of 100
Fees +$95.00
interest +5000
New balance $87.13
Credit Limit
Revolving Credit limit $10,500
includes $3.200 cash advance limit
1313iiéBié'EEGElliHE'E‘EEHEE'”""""'"Wsiokiié"
includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 08/31/16
21,234
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $87.13
Payment due date 10102116
Amount enclosed:
Account number ending in 1939
01'“ CARDS
PO BOX 75045
Phoenix, AZ 65062-8045




                                                                                                                EX. LLL - 040
ROBIN C DIMAGGIO
www.cltlcards.corn Page a or 4
I-800-THANKYOU0600-842-6596)
Aooount Summary
Post
date
from.
data
Description Amount
Payments, Cir-din and Miootmnt:
immi_iii'.”
""'_"5§iiiiii_;'._.. .__
..E*"'HEHI.IHA““"_..
'
standard Fordsan:
“BENT” .




                                                     Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
W05
ML:i:11:If_i_i:
.Ltilfw'_ii_tii” '
_ti_ii_iii_i__'
ititt_iiiiii_iit_liii
WittIii_éi_t:_ .
9.003???”
it"???"mif_'iii_iw:
Eiéii'_iIfIT.LLLIIIT'"'jI
EETFW “WEED”
.ER‘EHPEHFSUH._..___.




                                                                              Exhibit LLL pt.1 Page 42 of 100
__
_........._._..._..:§=§i§§: "
it???“
i“..... 5900‘?
writ"? 'T'Hi____
"""miif'é'iiii‘_
"'"iiiiiiil‘ié'li__féi_
""ZZiII'.;}fii§§§§§§§
NAN FJI
flit} “iii:Iim_i_ii' "itiiZ:I2'""'ii:if""iTj':"'_j
Eli MSIFJI
Ell 2222
"""ffjffiii'_L-__
isnn_stssnsunsss..m__ ___.....§_l§as9
Hilme ID: 591D231539T279’93
ThannYou Point: Earned This Parloo
3:; on Travel
including Gas Stations
2:: on Dining
and Entertainment
in on Other Purchases
Total Earntd
» Visit thankyousnm
to redeem points or see
full rewards details
Bonus Points may take one to two hitting
strokes to appear on m statement. Home
rotor to I11: spaoifio toms and conditions
portainiru; to tho promotion for iwthar
dataits.
+ 23.1313
4- 3?!)
+ 6-41
24.1133




                                                                                      EX. LLL - 041
ROBIN C DIMAGGIO www.cttlcarus.corn rage .1 u. -.
l-BOO-THANKYOU(l-800-842-6596)
Standard Purchases. cent'a
Trans. Post
date date Description Mum-1t
dam?""""'we;'""anewmar'a'a'mitmréms"“a""""""""""""§ia':§é
cérc'i"""""ber'e§"""___itlt_'it_é' 'Zi""_iil'____i_"'"Eli?""'""""""""§_l§§
I
_
EE_H;Pmm9¥§E' 93551axrmlaeeraeaeaeamm_xum mmm”
Hff_zté?u_u eae_rsn “m”322:.mum. "um_" um
Fees charged
Date Description Amount
cane?“ Hryarrahuararer_reeyrrzuwn.mumlmum_mu”M"muumumrpm_m_mn
@99999éélia” noon
seeHE_EiEE'r6wait_f_é_i_______c_"m"'mmwmm_é__




                                                                                            Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
‘I’otal in: charge! In this killing parted $95-00
Interest charged
Total Intere_ channel in thla um" perk-d Wm
l 2016 totals yearn-ante
WW” H53" “3391‘   ......_.____5‘3'E:9F.'... .
Tetll Interest charged In 2016 $154.20
Interest charge calculatlen Days in hiliirncjrclm_
Annual percent: lahmweiect
“Mt?” we?" Human.“ Item‘s!!!“
Standard Purch
$tandardhd1r 2549mm Enema} sane




                                                                                                                     Exhibit LLL pt.1 Page 43 of 100
f_éé_i_ii_iliif_l_e___
‘rw Annual Percentage Rate {APR} is Ihr annual Intele rate en four actcunt. APR: tattered
by W} lT-l'f em. _alma tamed by {D} are determined by the daily balance W_'l_d
[Winning current tracer-titans}.




                                                                                                                             EX. LLL - 042
ROBIN C DIMAGGIO www.citicarus.com
i-BOO-THANKYOU(l-BOO-842-6596)
Account messages
You can help those impacted by the recent ilooding in Louisiana by making a
donation to the American Red Cross. Many people need support during this
difficult time. httpszlfwwwxedcross.org/donateldonation
Congratulations] By using your Citi ThankYou® Premier Card, you have
avoided $36.32 in foreign transaction fees on purchases. This calculation is
based on a 3% fee that is charged on the Citi ThankYou® Preferred credit
card.
Remember, any charges above your revolving credit limit MUST BE PAID lN
FULL by your statement's payment due date.
l'_I-Jl: H- HI. '1'




                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                        Exhibit LLL pt.1 Page 44 of 100




                                                                                                                EX. LLL - 043
SlTE:SD-Ci TMzLG-SOOO AC1DzPB711850
07/10/17 12:24:18
ROBIN c DIMAGGIO How to reach us
Member Since 2015 Account number ending in: 1939 www.citlcards.com
Billing Period: 09/07/16-10/06/16 l-Boo-THANKYOU(i-800-842-6596)
BOX 6500 SIOUX FALLS, SD 5711?
Account Summary
Minimum payment due: Previous balance $87.13
New balance: $158.90 Payments '55'490'51
Credits -$0.00
Payment due date: 11/02/16 Purchases +55.537.2a
Cash advances +$0.00
Late Payment Warning: If we do not receive your minimum payment by the Fees +525.00
date listed abover you may have to pay a late fee of up to $35 and your APRs Interest +50 00
may be increased up to the variable Penalty APR of 29.99%. '
For information about credit counseling services, call 1-877-337-8187. new baIance $158.90




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Credit Limit
Revolving Credit limit $10,500
Includes $3,200 cash advance limit
Available Revolving credit 510.341
includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance: 857
as of 09/30/16
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side




                                                                                                                        Exhibit LLL pt.1 Page 45 of 100
Minimum payment due $25.00
New balance $153.90
Payment due date 11/02/16
Amount enclosed:
Account number ending in 1939
000000 PW 00 A 0
ROBIN C DIMAGGIO C'ITI CARDS
573T KANAN RD PO BOX 78045
it 117 Phoenix, AZ 85062-8045
AGOURA HILLS CA 91301-1601




                                                                                                                                EX. LLL - 044
ROBIN C DIMAGGIO
Assnunt Summaryr
Trans. Past
Payments. Credits and .lrdiuetments
_ 0‘3??? ..E¥.TE!F!‘.I_.T“A"'FEEH...
“"9?!”
'10 "0000
Standard Purchase:
093° “ W“? .'.° 99i‘i§_§i.'5§_ti “THEE???”EE??F.F!_._._..
§ii§.:_iTWW6' 000°
‘5‘ Mm“
.T_i_iil‘i'_iif
Hi_if_i___‘im
7+5 "Wii_i_i__m
'_iiti_ii___'itl_i_iiii_i"ff:ii:1:meffi_
Wi'dm_iii_'é_WWW“:Ziii_i_tiEiii__7"":1




                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
09"” 0932' _FCE”“5””3° 97???HESHV'EEF..__IF‘6‘.....
2222
.
www.cltlcards.com Page 2 oi 3
I-BOO-THANKYOU(i-800-842~6596)
_....._..‘§.B.3:H
"";'.Iijiii':iil.iiliéi§
iii???
“$99999
WI? ""Till???"iii_i‘iEwe-Elise:ZIII_iii‘iii__iiIIIEE-ELiif::IiILLQM'
st "masseuse




                                                                                                        Exhibit LLL pt.1 Page 46 of 100
_aw "aaii‘_m_i__miiiii__t_i___miti___i_'::ilii'iiili"'
WET "'it?__mi_Wi___i__iié_iii_m_::1
_if_i_é_é_fill" E" "W'K_i_‘si"
2222
2222
2222
".1
iiii_ii___:2" 6'
2222
.[Q_t?!EEEWEEiéii_ii_ié_f:Tiii:iifif7'""I'Zi'fiiiif: ..
FOLiD MEMBER: 560222
Fees charged
Date De'ssriptim
5355"'“IEilie_'____eé_i_i""2':I:""'"m""Z2::Iii""""""fii.
5565mm“ is soon
Total tees churned in this billing pith-I
Interest charged
.___......____.....fFii'iiisé__i_git_iié_ii_i_i_tiiii:iIII:i"will:I""""""""'
. Jill-7'3. FE”??? 5"“: '"Sl-‘Rtit‘E___i_ “Fuji...”
.....___....I:ii:...............
fissile
mm
is???
$253!:
Total interest startled in this tiling period
5° 90
ENE totals year-rtn-date
. it“ its! it"‘l_ltiil‘i
__..§.'.‘.‘.§*° °
_ $15420
Member ID: ameastsaera'rses
Thanh‘reu Paints Earned This Period
31 on Travel
including Gas Stations + 31D
2: on Dining
and Entertainment + 1.4m}
hi on Other Purchases 1- 232
“Intel Earned 1.992
» Visit thankvouxom
to redeem points or see
full rewards details
Bonus Points mar-r talre one to turn hitting
circles to appear on m statement. Please
refer to the specilir terms and cordllans
pertaining to the prmnutiun far further
details.




                                                                                                                EX. LLL - 045
www.cltlcards.com
ROBIN C DIMAGGIO
I-BOO-THANKYOU_-BOO-B42-6596)
-_ Interest charge calculation Days in billing cycle:30 '_
four Annealfereentage Retinal}? is the annual-interest rateon your account: __ I
Annual percentage Balance subject
) to Interest rate Interest charge
Balance type rate (AP
.IEliéféiiéé_iIf:ffTIZIITIIQLIIif:ffill:......___...
Standard Porch
Your Ann ual Percentage Rate (APR) is the annual interest rate on your account. APRs followed
by (V) may vary. Balances followed by (D) are determined by the daily balance method
(including current transactions).
Account messages
Remember, any charges above your revolving credit limit MUST BE PAID IN
FULL by your statement's payment due date.




                                                                                                Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Page .1 0| .1




                                                                                                                         Exhibit LLL pt.1 Page 47 of 100




                                                                                                                                 EX. LLL - 046
SITE:SD'C| TM:LG-5000 ACI02P3711350
07I1OI17 12:24:18
ROBIN C DIMAGGIO
Member Since 20l5 Account number ending in: 1939
Billing Period: 10/07/16-11/04i'16
Minimum payment due: $8.00
New balance: $8.00
Payment due date: 12/02/16
Late Payment Warning: If we do not receive your minimum payment by the
date listed abover you may have to pay a late fee of up to $35 and your APRs
may be increased up to the variable Penalty APR of 29.99%.
Minimum Payment Warning: If you make only the minimum payment each
periodr you will pay more in interest and it will take you longer to pay off your
balance. For example:
If you make no additional I You will pay off the And you will end up
charges using this card balance shown on this aying an estimated




                                                                                    Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
and each month you pay... l statement in about... otal of...
I ..
Only the minimum payment l monthts) | SE
For information about credit counseling services, call 1-877 -337-8l87.
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
it 117
AGOURA HILLS CA 91301-1601
How to reach us
www.cltlcards.corn




                                                                                                             Exhibit LLL pt.1 Page 48 of 100
l-B00~THANKYOU(i-800-842-6596)
BOX 6500 SIOUX FALLS. SD 5711'!
Account Summary
Previous balance $158.90
Payments 61,558.58
Credits $762.80
Purchases +52.170.4B
Cash advances +$0.00
Fees +5000
interest +5000
New balance $8.00
Credit Limit
Revolving Credit limit $10,500
Includes $3,200 cash advance limit
Available Revolving credit $10.59?
includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 10/31/16
3.449
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $8.00
New balance $3.00
Payment due date 12/02/16
Amount enclosed:
Account number ending in 1939
CITI CARDS
PO BOX 73045
Phoenix. AZ 85062-5045




                                                                                                                     EX. LLL - 047
ROBIN C DIMAGGIO
Account Summary
Trans. Post
date date Description
................................................................... --+H Imu- -u----rr- -- u-u---n-H-I----- I-u n-Irrn-I
Paymanh. cmn: and Adjuttmenta
wee..-
Ema" THERE???”
rl " 2222
standard Purchase:
I??? W99
_m__._.___......-. m
g__w_...._u....--..H
"tenses" 2222
"'sse'eees" 2222
3555'."m"miDid"""ei_i_iiiiiimi‘m"Ifiiiéii__eé_i__iiii?“"fiiilliii:____._...




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Fees charged
“000° ”"mZ:ZZZ:W'Z"::_.......
. . ' __.....___......:e1e99ee
“5 0'.” THE “LL”. “9??!9995WP
_at_ii_h_'iEEKthe:ZI:ZIi:'m"u:1:21:12."
It?” TH"- “AU-5‘5..it???.9?.t§§§§§3§3...F_........__...
fi__ti__iiiiiii__eii___i_:I:E252It:
www.cltlcards.corn
l-BOO-THANKYOU(l-BOO-B42-6596)
Page a or d
Amount




                                                                                                                                         Exhibit LLL pt.1 Page 49 of 100
......... .................. n
Hittth ID: 3519231539727993
Thanh‘rou Points Earned Tnla Period
31: on Travel
including Gas Stations + D
2: on Dining
and Entertainment
he on Other Purchases
Total Earned
» Vlslt thankyou.com
to redeem points or see
full rewards details
Bonus Points may take one to two billing
cycles to appear on your statement. Please
reler to the speci_c terms and mttim
pertaian to the promotion [or lurtner
details.
....i§‘5a-t'9
'j"'-"s'isi:eo +19?
................... 1.1.334
1-5:“
..._§?:PEE:PP.
Total tees charged in this billing period
Interest charged
Total interest charged in thla. “It” period
Wm
lEons totals yoar-to-dato
Total in: charged in EDIE
Total Interest charged In 2016
$ED.DD
siseac i
J
[ Interest chemo calculation
Days in hitting cycte:2;‘
‘ ‘0“ “_!_‘.'.'!'.‘"""“ “FEEDER? ‘5 '“Wd_'___ "it"? Fi_?!“
Annual pas-can Baton Inject
Paton“ typv_I____ rota _% _
wherein".-...___.2:...I:iimnw"
A
L Standard Ade _ 25.49% m
:1iiieseeiit_:iii:Ijieeei..::._.___._......__..f:
E. N
interut rata_______ Intarm
illiteei
“ungaz_aj
Your A.an Percentage Rate (APR? '5 the are-Mal min-m rate on your account. APl'vts todmd
ey {in may evy. Balances retrained by {D} are determined by the daily balance melhod
{inciuding current _mtions}.
Account messages
~r‘ou can hetp those impacted by Hurricane Matthew by making a donation to
the American Red Cross. Many people need support during this dif_cutt time.
1iiisit thanhyouxorn to use your points to make a donation today or donate
directfy to httpdfnwwmdoromergfcmicitigroup-puo
Remember, any charges aboee your revolving credit timit MUST BE PAID 1N
FLILL by your statement's payment due date.




                                                                                                                                                 EX. LLL - 048
SlT BSD-Cl TM:LG-5000 ACID:PB7IIBSO
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2015 Account number ending in: 1939
Billing Period: "IDS/1642106115
How to reach us
www.cltlcards.com
l-BOO-THANKYOU(l-BOO-842-6596)TTY: 1-877-693-0218
BOX 6500 SlOUX FALLS. SD 5711?
Account Summary
Minimum payment due; $0.00 Previous balance $8.00
Payments $1,343.37
New balance: 0.00
5 Credits $0.00
Payment due date: 01/02/17 purchases +51,335.37
Cash advances +5000




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00
date listed above. you may have to pay a late fee of up to $35 and your APRs Interest +50 00
may be increased up to the variable Penalty APR of 29.99%. ‘
For information about credit counsellng services. call 1877-3137-8187. New balance $0.00
Credit Limit
Revolving Credit limit $20.000
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
1* 117
AGOURA HILLS CA 91301-1601




                                                                                                                        Exhibit LLL pt.1 Page 50 of 100
Includes $3,200 cash advance limit
Available Revolving credit 520.000
Includes $3,200 available for cash advances
Total ThankYou Member
Available Point Balance: 6,481
as of 11/30/16
» See page 3 for more Information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance $0.00
Payment due date 01l02/17
Amount enclosed:
Account number ending in 1939
CITI CARDS
PO BOX 78045
Phoenix, AZ 85062-3045




                                                                                                                                EX. LLL - 049
ROBIN C DIMAGGIO
wwmltloardseom Page 5 ol a
1-800-THANHYOUU-BU‘D'342‘6596’JTT‘I': I-ETT-EQJ-DEIB
Account Summary
Trans. Pest
date date Description
Amount
Payments. _redits and Adjustment:
“to? PAYMENT THAHirr-ziu
...° ._.° __° _..”..m.____....Wié.....__.Hm_f_mi__. .
Melitta?
standard Purchases
urea "IDS 1N 'GDERYNAJNE. TEi-3l9444i MA
_..__I_-.I._
.'
it???




                                                                                              Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
'_‘i_i
sisters"
_rst“
Fees charged
Total foal email In this billing period $0M
Interest charged
Totat htemt charged in this “the period “II-'0
201d: totals year-to-date |
“Hittit'i'tt_t'__
L rot-r intern-It charged in zone
[ Interest oharqe oaloulation Days in bailing orde_zl




                                                                                                                       Exhibit LLL pt.1 Page 51 of 100
|
Annuatperoo e Iatanu suites-t
immtw-__..._. rat-r...__... itirttrrtt._.....'ti*"tt
i Standard Puch
Standard Mir 25.49% m
..eééiié_;...1:ZZ_rsti912:ZZ2::II.........:E§§%?§.
tour Animal Percentage Rate {APR} is the armed interest rate on your account. AFRs loiiowed
Dr W} new we. Balances in_amed or {iii are determined or the nails oelmoe mined
tinctude current transactions}.
Hemhll' ID: _il_EElS-BFTETWS
Tharrli'r‘ou Points Earned This Period
31: on Travel
including Gas Stations 4- 259
2: on Dining
and Entertainment +155
hi on other Purchases + m2
Total Earned 1.5%
)) Visit thankyou.com
to redeem points or see
full rewards details
Bonus Points may take one to turn billing
circles to appear on your statement. Please
reler to the speci_c terms and conditions
pertaining to the pron-notion tor turther
details.




                                                                                                                               EX. LLL - 050
ROBIN C DIMAGGIO www.cltlcards.com Page .5 or .5
l-BOO-THANKYOUU-aOO-B42-6596)TTY: 1-377-693-0218
Account messages
Remember. any charges above your revolving credit limit MUST BE PAID IN
FULL by your statement's payment due date.




                                                                          Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                   Exhibit LLL pt.1 Page 52 of 100




                                                                                                           EX. LLL - 051
SiTE:SD-CI TM:LG-5000 ACID:P3711850
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2015 Account number ending In: 1939
Billing Period: lZ/OT/lG-Ol/OSIIT
How to reach us
www.citlcards.com
l-BOO-THANKYOU0-800-342-6596)TTY: 1-877-693-0218
BOX 6500 SlOUX FALLS. SD 5711?
Account Summary
Minimum payment due: Previous balance $0.00
Payments -$6.007.00
New balance: 158.90
5 Credits -$i40.83
Payment due date: 02/02/17 Purchases +$6,306.73
Cash advances +S0.00




                                                                                              Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +5000
date listed above. you may have to pay a late fee of up to $35 and your APRs mterest +50 00
may be Increased up to the variable Penalty APR of 29.99%. '
For Information about credit counseling services, call 1-877-337-8187. new balance $155.90
Credit Limit
Revolving Credit limit $20,000
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
11 117
AGOURA HILLS CA 91301-1601




                                                                                                                       Exhibit LLL pt.1 Page 53 of 100
Includes $3.200 cash advance limit
Available Revolving credit
Includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance:
as 0112/31/16
9,267
1) See page 3 for more Information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $158.90
Payment due date 02/02/17
Amount enclosed:
Account number ending in 1939
CITI CARDS
PO BOX 75045
Phoenix, AZ 85062-8045




                                                                                                                               EX. LLL - 052
ROBIN E UIMA'EGIG
wwmltloardmeem Page 2 or 4
I'B__-THAHKYGUtlt_mh_-d_-__g_iTT‘i’t PETERS-02m
Account Summary
Trans. Post
date date Description
Payments, Credit: and Adjustments
W15
Standard Furol'tam
We? mo:
'_s_1 season" 2222
'3. assumes“ 2222
istsraot' """'a:""""nsiiiiiish"" 22:2
bRPEIEEH_*° 3".___.I:..F§F‘EG*'¥.EEEEHFA
si Assnosn 2222
"s. """issiiest" “2222




                                                                Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
"ai"""";t§sin§;t"“" "'22::
" at 2222
tine
i.§_e__§.....m__
E___.____......___.
.l.__l§..........__.._m
Estates
ma.....iiit..._atuuidili.....___
.
_i._......i.§§a.___.... .
am......._._...Em......__§____é_g__t




                                                                                         Exhibit LLL pt.1 Page 54 of 100
site:Ii_i_lié‘t_:
2222
it 2222
2222
2222
P””F"T..T.t.'-° ‘"“"° ‘:'.. .  .
KPH?5“595‘?.‘tEi_FIE_FETHEFEFE‘:.Fft.................
'WEEWt:_fi__é___Hit!FEE::IILLIiii:
'3WWE_m_i_____i1‘???f::1:
'"'E___it?“iiiiitiiiiiili_é_t_t_iEHIIILICLL.
We_ewWERE553_t_ti_i_ii_i_éiiiill___:
o____a_3559?}::____t_é__:_ll:1:11:11;
"_e___'__“3553i?T'__‘éé__i‘i_fiii_iililff
"_a____'5555i:L"'___i_iWEEKEB:1::
..EEK"iiiE___'i__té___fit____i_iiéé_i:II
' "militia?“3Limit_tfi___i__ii_f3%?!11:11:11:
LEEWW_t_iti_it__i_é:I:
i135'L'W_iiféi_i_i_éii_t__ii_:1:111
i_éii_i_é'i_i_ i_ti_i_i_ii_II:IIZ”WL.
.....titties"'"Wiiééi__LHI'EE'EEII:
'I'__l_'iieiH_t__iiiiliif_l_i.
iti__ii_m_ee_t__éé__:Z_ll:2::
.éfi'i_éitié_i_it!!!EEIIIII
C_ifi___i_éi_iIE_i_é_é_..__.._.__.."I2:12:22:
..._:§E23'EE
""“like:Iii‘fi‘i‘iit___m_h    "IfII:Z:L""'"I'Z'Iil_iiii_ifii?
"""Z'.'.ILLE§€53
'"fliiifti__i
gene
311:;i:::+:s2s
::;:::es;t
tries
:iiieige
“tress:
iota.
Homo-er ID: $91023153i'f219i3
Thernit‘rou Foh’ts Earned This Period
as on Traeei
including Gas Stations
2i; on Dining
and Entertainment
I: on Other Purchases
Total Earned
» Visit thankyou.corn
to redeem points or see
full rewards details
Born: Points may taite me to two billing
circles to appear on your statement. Please
refer to the speci_c terms and conditions
pertaining to the promotion for further
details.
+ 357
+ Less
+ 2.259
10.172




                                                                                                 EX. LLL - 053
ROIN c DIMAGGIO www.clttcards.com Page .1 m a
l-SOO-THANKYOU(l-BOO-B42-6596)TTY: 1~877-693-0218
Standard Purchases; can-H
Trans. Past
data data Desu'iptiun Amount
'I'éii_""qwmi_iéw'""é‘é_ii'é_é___WEEK—fi__ff_k_iii;E3""www_i__i
FHLHTIDEI
NSIWEEHEFEHE_LE__iEE'__"""""""""'§'&§Hi
.U. wagy___.__é__ma.._._.......,......._
Fi__m_d__a....__imi.....__E_.___...............____
I
ma_a...
'I'é'__""""""'ii?lé”””“§____€__'Krli'tiEEH_bEE-E'iE_'_ii_iilé'E_"""""':"'"
amidim..................6    .
oéi_i'EE_'E_L'¥'ELt_'L6§MEELEENEI'WM
_wm_ia.mmm




                                                                             Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
mi;._...........i_g._ ___m__i.EE_u_____..a......__.....
6
'I'é'i_""' ' ' '"Eh____é__i_él_i_'___EKEEBE§3§""EK'
_a_a
Eil__éii___ié'iié_”'t'_i_é__i""E_""""""""
____........
'I'é'i_""""""_ii'r tr__t__ft__b__é___Tééif—E_i_'"M
__.,t__3é.__.__..______
M_ler.......____ba_tm_m__...........___.........
__.§;_a§......m._.
.I.é.j_........___._.i__..




                                                                                                      Exhibit LLL pt.1 Page 55 of 100
GU A_f_i_a_.__.._ilg_t___mm.i.....
jfaaé__m...” H
mg......._____.i_ig .m__bw_ému.._.."u___m__m.._......
.
El_n......_...i_a......_i. EHJEf_E.i_mgfa_:.____........:.:.:..g___
.    .
W5?”"'""b'l'iiii'"""i__'iflli_ii_i_" _E_E_L‘i'iilfti_'EH” éaa_i
___ig...........____.._...ai......._h.§§l.é__..
5E6?"m'"'"_if_i"""kéiiiié_i_éé"    "'"gl_é'é'_
Ili__fi__




                                                                                                              EX. LLL - 054
WWW.CII|Carua.uuuln
ROBIN C DIMAGGIO
i-BOO-THANKYOU0-800-842-6596)TTY:1-877-693-0218
Fees charged
Total fees charged In this billing period 50-00
Interest charged
Total interest charged In this billing period 50-00
2017 totals year-to-date ]
Total fees charged in 20l7 $0.00
Total interest charged in 2011 $0.00
Interest charge calculation
Annual percentage Balance subject
.99!.‘.'.'5‘.‘...t.‘.’.'.’.3 .................................... "TEE.55?..3....f_l_ifi___ffff ........ ..!Pf?§ff§.§!3§f§f.|
PHRCHASES    . ......................................................... ..
Standard Purch 15.74% (V) 50.00 (D) so on ‘
.K__é_iii:I....:.:....:.f.-H" "" " . ...................




                                                                                                                Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Standard Adv ' 25.74% (V) 56.00 (D) $0.00J
Your Annual Percentage Rate (APR) is the annual Interest rate on your account. APR: followed
by W] may vary. Balances followed by (D) are determined by the daily balance method
{Including current transactions).
Account messages
Remember. any charges above your revolving credit limit MUST BE PAID IN
FULL by your statement's payment due date.
ILFlj-kp-I'LII I




                                                                                                                                         Exhibit LLL pt.1 Page 56 of 100




                                                                                                                                                 EX. LLL - 055
SlTE:SD-Cl TM:LG'5000 ACI D:P8711850
OHIO/17 12:24:18
ROBIN c DIMAGGIO
Member Since 2015 Account number ending in: i939
Billing Period; 01/06117-02106117
How to reach us
www.citlcards.com
i-BOO-THANKYOU(l-800-842-6596)TTY: 1-877-693-0218
BOX 6500 SIOUX FALLS, SD 5711?
Account Summary
Minimum payment due: $25.00 Previous balance 5158-90
New balance: $308.15 Paments '55'806'93
Credits -$0.00
Payment due date: 03/02/17 purchases +$5,956.23
Cash advances +5000
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
date listed above, you may have to pay a late fee of up to $35 and your APRs Interest +50 00
may be increased up to the variable Penalty APR of 29.99%. '
For Information about credit counseling services, call LBW-3376187. new “dance $303.15
Credit Limit
Revolving Credit limit $20,000
includes $3,200 cash advance limit I
Available Revolving credit 519.691
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
1* 117




                                                                                                                        Exhibit LLL pt.1 Page 57 of 100
AGOURA HILLS CA 91301-1601
includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 0‘1/31/17
19,439
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $306.15
Payment due date 03/0211?
Amount enclosed:
Account number ending in 1939
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-8045




                                                                                                                                EX. LLL - 056
ROBIN C DIII'IAGEID
mmlticnrdmunm Page a at 4
I-___~THANHYDUEl£DD—_d£-_§9_TT‘i': I-_TT “$934135
Account Summary
Trans. Post
date date
Descriptim
Payments, credits II'H‘I Minimal-it:
Standard Pun-chant
i____é_é" '
'
__a_a....._
FE'r'i'ft_ém
om:
"El_n...
6mg” __




                                                                                          Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
" 2222
@5145iii_fi_i:"ii'__it_i__HEEEFHiiiiliifi__'
_i_j...._.....
ump__a
ome
9w? 9W?
W‘__:
'
5iif‘i.::.._.___. ._
TFF38T_1'_|_Q
WOODLANDHFEFEEW‘“HERQHHE"‘LLEFE..____......__....




                                                                                                                   Exhibit LLL pt.1 Page 58 of 100
40H”Wine;Hati_aiiiti_ia.
'm""""ii'554iiis'n'
'_iiLiiiLiE'F'UE'L'iii_iii""'_tiiiiifiii’ii_'iiitfi_'"""""""'
'éfiiiiti_Eii_td_E'iiii_iiiib__i_iitiiiiiIEJi”"""""""'
"'i‘é'__i-Iifi_iilt__'_jjié____i_i_éiff:fILLiILLIIIILLj
“nu____t_
6‘ ...*.'.*§T?§E§§
“Hf-FWD“ F'FIEEWF “LLFTHE‘E. “R.
wan”...
51 AS-‘iliiJEA_
PAVE-IE!“ TH__HY_UI _ I ____
'iI'S OF THE VALLEY #933 WWDLAND HILL CA
all 2222
it???WEEiiiiii_it___i_litiii_IQIII'TITLI'
‘51 ASEEUSA
.
2222
.J___.__.l..._muntag_a__
._.Ei........_é___
. .
él__......_b.l__h_
2222
_ .Ifii'éi_iiiéiii""'IITLZIWIIII'iIiIiéié___'WEEK:IIffTLLLj'IiIIIf'IIIL
_ _ai ASBIZLEA '22::
0m...
.......................... -.--+-+u ----u- - ------- m I-I-r-H-i-‘h_-I-I-I-I I III"- In
1......” ............ ..-
_...__:§.'?° ~?F
"Illf_ét_ii
W:IZILL_iifii'Z:ZZ:L........_....._____..
STEEL-ii
'illl_'iriléi
ift'_mmé_iti_i__ii9???WE???i_t:IIIIIi'T_iiii-éé
Lilith-'5?
_ii___i_iWit?it???Iiiii__i___l_iié_:1:......
222?
2222
31W'_Wif_ii___i_'fiiii__é_I?“f:1':Ilfij__i'fil
2222
2222
_ew“?'____"_é____‘i:3:I:
"2222
2222
éi"'"'"ii.4zisi.i5ii' 2222
2222
ma_a
2222
"Lfié_é__fwf_IIII:Ii_ifilff
""If.""_i___i_éw"""""I:f
""LIWEL'E'FEESE?ifKi""iTILII'Zfo:
'i__é__Z_itIiiiii'iiiifi
it???
E???
It???
1????
Hlmlitr ID: HHOEISSEITITHE
Thanka Ful_ll. Earned Thli Pnrlnd
in: on Travel
including Gas Stations
21 on Dining
and Entertainment
ii: on other Purchases
Tum Earntd
» Visit thankyou.com
to redeem points or see
fuli rewards details
Bonus Points mar; take on: to tan: billing
circle: ta appear an m stalemnnt. Haas:
rater to the specifi: term: and canditim:
pertaining to the prom nation for further
detnis.
+59D
+ 1.331
+ 4.361
L262




                                                                                                                           EX. LLL - 057
ROBiN C DIMAGGIO www.cltlcards.com Page 3 o! 4
l-BOO-THANKYOU(l-800-842-6596)TTY: 1-377-693-0218
Stand-BM ll'1.|remlums.r ount_d
Trans. Post
data data uncrl'ptim Amount
Eijré'i""""""'i5_ii"'""E___t_é‘f__t
"""E_ié_iii_éif_fa
__
""IIIITE'Ei-Z‘_
""Ziii'iiil__???
""Zi‘f_ml_fii'j
""iiiiZICEI'EE-Lié
IL
m‘iuniHi___i‘_i_""_d__th__'H'EIIE'En?""""""""""§E§£_
"'mmgmgwbwm‘""ie'dagta__'mgt_j'jffjf'"
5W"""""WET"HEW“?E_'___'i'_'_é_w_'__i_éiii




                                                       Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Fi_...
6w.....___...m
é_anz_aw
":Q___i
"":'.'._'._5%§éi_f
_l_iii_iCCCCII:fiI__i_flii_i__é
“TIE'EEE




                                                                                Exhibit LLL pt.1 Page 59 of 100




                                                                                        EX. LLL - 058
ROBIN C DIMAGGIO
Standard Purchases. cont'd
Trans. Pcst
date date
Description
Fees charged
www.cltlcards.com
i-BOO-THANKYOU(I-800-842-6596)TTY: 1-677-693-0218
Jtrncunt
'I'ortal tau charged to title Hung period
Interest charged
$100
Total tritium charged in this billing period
36'.“
EDIT totals year-to-date
T“!.‘..'Ef.t.t'?_f.!.‘ih.t_"...




                                                                                             Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
31mg ‘
_[ Interest charge calculation
“thee he“ ._
_ercest;I_iii:if.ZIZIM"
Standard Purch
Vi__e__éé_ii...”
WHEN
""ésititt'_ii"w
Ila-Iainhe:iiIIIItitlesSail:22:12:...
Days in hitting cycle-33"
m." ‘PEHHFEWF "Hi"? ‘5 “'9 3"““3!.‘.'."3‘..“1F'5‘ “‘9 “WEFEWL .




                                                                                                                      Exhibit LLL pt.1 Page 60 of 100
hanual para-eta? Balance subject
"it 955...?..PF.E'“"F’F.E!}!...___
Your Annual Percentage Rate (APR; is the must Interest rate on your account. APR: [attuned
by W} may yary. Batancos followed by 119} are determined by the deity halal-ice metro-d
{inching current transactions}.
Account messages
Remember, any charges atioye your reyotying credit iii-nit must BE Penn "-1
FULL by your statement’s payment due date.
It we need to contact you about your account. our records show your phone
numbertst as Sin-689333 thomeit siesta-54M tmohiiei. it this tntormation
isn't correct or you wish to add a number. please catt the customer service
number on the bath of your card or update it online at www.citicards.con1.
Page 4 ol 4




                                                                                                                              EX. LLL - 059
SITEst'CI TMzLG-SODO ACID:P8711850
07/10."? 12:24:18
ROBiN C DiMAGGio
Member Since 2015 Account number ending in: 1939
Billing Period: 02/07/17-03106/17
How to reach us
www.clticards.com
lvBOO-THANKYOU(l-BOO-B42-6596)TTY: l-877-693-02la
BOX 6500 SIOUX FALLS. SD 571i?
Account Summary
Minimum payment due: $25.00 Previous balance 5308-15
Payments -$3.44 5.46
New balance: 297.82
$ Credits 6115.27
Payment due date: 04/02/17 purchases +53,550.40
Cash advances +5000




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00
date listed above. you may have to pay a late fee of up to $35 and your APRs Interest +50 00
may be increased up to the variable Penalty APR of 29.99%. '
New balance $297.82
For inlormatlon about credit counseling services, call 1-877-337-8i87.
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
#117
AGOURA HILLS CA 91301-1601
Credit Limit




                                                                                                                        Exhibit LLL pt.1 Page 61 of 100
Revolving Credit limit
Includes $3,200 cash advance limit
Available Revolving credit I 519309-
Includes $3.200 available for cash advances
$20,000
Total ThankYou Member
Available Point Balance:
as of 02/28/17
27.321
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $297.82
Payment due date 04/02/17
Amount enclosed:
Account number ending in 1939
CITI CARDS
PO BOX 75045
Phoenix, AZ 85062-8045




                                                                                                                                EX. LLL - 060
ROBIN C DIMAGGIO
www.citiuar_cnm Page a at 4
l-BOO-THANKYOUIIII-E__‘_dZ-_SEtTT'I': 1'8? THESE-DEM
Account Summary
Trans. Pct-t
date date Damipliun
."H.+....._u.u. .1 -I.d--...IIl-IllI-I-I-------|---l—|--dI-I-III'I'Ilrr-‘I-I---I-'+|-“lllllll'll"l' - :-
PI-lnnenia. credits and A_halmnh
02f“) PAYMENT THMIH ‘t'_U
standard Put-chat“
nerve
i’i‘r‘ii‘ri_é    a
iiiii__llii""iiiéiii”"i§
" 2222
"""h_é__é_" " 2222
92I06 oer




                                                                                                           Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
owcwt’
Eii'r'fiiiiiii "éi"'"'"Kéfié'UéK'"""""§ééé""'
_iiéé"
'z'_ii‘i'_mi
52MB”
6%?"umbiiaf..."
__é.l.6§...m.............
65kg ...................... ..
Eéiré_'_'éiiii""'
6i;66......_...6§i
__WE§61.6..........




                                                                                                                                    Exhibit LLL pt.1 Page 62 of 100
"K§é£é_'§.i""”" "é'ééé"
“_g?
656%......._...6é.j6f......__._......._
aidinuuun_é
Hiawém
""KébiiUsK'"
'c'iii_iiiii_‘i” ""'6I"'"'"K§éi£i_§ii"'
6516‘?“'"'"_é'l_i'm'"_f__'é_tfké'_ake
Eé_émaa...................5i....._..Kééi.ab.§i.u..._ 222
"diié‘i"""w‘bi_iiim'
gb_é.l.dé...,................6r...
_iiié_i2:???ii_I_ii____é_iif???___éé:§_§i..é§_____...__julllIIIIi.
Zimi_iiiii__ dIIf"'“"1:ii:ZI'm"T112211}
'iii_i_i‘_:Iiiimdm'i:IM'":
F'Ei_i....__E9F“'-F 95"” SWEEP...FEE.§¥§E§...EE__.................___........
" '_ii__""""Iffi_é_i___i_i___If.le1:11:11
9"Ei_i_ii'If_i_ii_ii_i_i_1:11:11:
éé_i___'_i’éi"""_miiééiiiE52121::III.
Tim?“EWWW"W_aifii__if€51Iiilj.
"Faé__i'WGWMWW_é_i_é_.f_éilliiiiif:
""'.¢i?§i"i5'_€‘7§§'éi"'""'i"450§i_ii__i§§326:::IIIZIL
TE “WE‘VE”"wagié_l_ii_i___TEEKLIIT:
"ééa'_émgm""a_i_i_ifSILEKZiifill_iiiilli
“itBEE?“E_ié'méii_i___Q:35:1:
'""'EMEWEEKI:11:11:11.
I_irii'i'_"'é__iiéiéé_IiiiiéiiiiiijIIILQLIT
"5'gé'_i__i_aauiii_i_g"55::
5.8 Ei'i'i'_iiiils'"Haiti?”
"Ekic'6i§ii}i5§i["'§'7'é'§'4
iii-E?
ire-axe
ten;
'IL'.LjiiZ-i§i
':::ea;ici=ii
11%.?
Hammer ID: BEHEIZS'IEEQTZTFF;
Thmk‘rnu Paints Earner! This Period
3: on Travel
intiuding Gas Stations
2:: on Dining
and Entertainment
“ix. on Other Purchasaa
Tntal Eamld
» Visit thankyou.com
to redeem points or see
full rewards details
Bums Paints may latte me to turn hitting
tildes to appear on incur statement. Phase
refer to the specific terms and canditiun:
pertaining to the prumolinn for turlher
dataiis.
+ AGE?
1- 1.23?
+ 2.113
5.431




                                                                                                                                            EX. LLL - 061
ROBIN C DIMAGGID
Standard Furclnlu. unt'd
Past
data
Trans.
dale
.. .
.
92:9?
0308
02.303
was
Destri’ptiun Amount
.
'"El_fh_iff_fi____'i_é_'éf gar a;g_2'";§m "I'LL:
"'i‘é'l't_xi'ifé_'_lt'iii'ii__é_n’l




                                                      Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
L5ihéélijiiiilii.ILL 5m?
...... . ..... ...
E55”:IiiILIIILLIZIE???
6%..
Ei'tii_b_'" “ ' '
m3.
gamma“
'
f__é_i:2""
RUE...
02le




                                                                               Exhibit LLL pt.1 Page 63 of 100
_f‘__é_'"
E_.___........
I_é’ééi_fi_...
gamma
_éi‘i IT
3W_:*!9__......f.f
W93.
. ...
W03
dif_Im.
" Ill'__é:
'.I'_I
'ft!...._'__.'_59'3“5{....
..EIEEEHF.'E§§IEEF I
""i'jlli__i?‘
""L'ZIWT‘S'E
"H__i
WIFE.E_f__f__f_m......___.......
_. 5'"ERCOHHTFEEV‘QQ‘TTEEE?..Fft...........
3W5! 2222
EEK?
:_é_
""_'fj'__i_
HMENIERLDM HTER ma_a-4242 cg
""_".'.I'§55!}?_
iiii???i}_i_______f__iTilliiiil___i__
3222 -
""ii'_lg___
H'i__iéf._55i_"ilII:II:_ZII::1:___ilfilffi
Eiéfé6"""""
WFZNBHFH...
93m:
Fens charged
mm
""_taan_'aa'mii
aw"
"TI...
Iii__ifi_'__i_ 3 __éé_i__éi_éiIIIIIffIIiILIII_Eé_Eé
6' imam-5e.
LLI'__if__'_'____i_""25?
5'1 "'"Asnausn 222
' su-vwwmsan.__..§99.rH5AH_r_a
T_al [In chm in this billing prriod
5° 30
www.c_lcarucom
l-an0~THANK‘I‘DUEI_D_-E‘la_____‘u’: IvBTT-E__al_




                                                                                       EX. LLL - 062
ROBIN C DIMAGGIO
Interest charged
Total interest charged In this billing period 50-00
2017 totals year-to-date
Total fees charged in 2017 $0.00
Total interest charged in 2017 $0.00
I
-.
Interest charge calculation Days in billing cyclezz I
I‘I’uur Annual Percentage Rate (APR) is lhe annual interest rate on your account. I
_| .
b
Annual percentage Balance subject
Balance type rate (AP ) to interest rate Interest charge.
- Standard Purch 15.74% (V) $0.00 (D) $0.00
............................ ...................... ...................... ... ..............1




                                                                                                 Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Standard Adv
.6l66.ib..).............. .
Your Annual Percentage Rate (APR) Is the annual interest rate on your account. APRs foiiowed
by [VJ may vary. Balances followed by (D) are determined by the daily balance method
(including current transactions).
Account messages
Remember. any charges above your revolving credit limit MUST BE PAID IN
FULL by your statement's payment due date.
www.cltlcards.com
1-800-THANKYOU(1-800-842-6596) TTY: l-877-693-0218
Page 4 0t 4




                                                                                                                          Exhibit LLL pt.1 Page 64 of 100




                                                                                                                                  EX. LLL - 063
SIT BSD-CI TMILG-5000 ACIDzPB'IiiBSO
07/10/17 12:24:16
ROBIN C DiMAGGIO
Member Since 20l5 Account number ending In: I939
Billing Period: 03107117434106!”
How to reach us
www.citlcards.com
l-800-THANKYOU(i-800-B42~6596)(TTY: l-877-693-02lB)
BOX 6500 SIOUX FALLS. SD 57"?
Account Summary
Minimum payment due: Previous balance $297.82
Payments -$8.164.98
New balance: 1 274.78
s ' Credits £716.53
Panent due date: 05/0 2/17 Purchases +$9.858.4T
Cash advances +$0.00




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00
date listed above, you may have to pay a late fee of up to $35 and your APRs Interest +50 00
may be increased up to the variable Penalty APR of 29.99%. '
For information about credit counseling services, call 1-877-337-8187. New balance 51274-78
Credit Limit
Revolving Credit limit $20,000
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD
11: 117
AGOURA HILLS CA 91301-1601




                                                                                                                        Exhibit LLL pt.1 Page 65 of 100
Includes $3,200 cash advance limit
"Manama Revolving credit-m $18,725
Includes $3.200 available for cash advances
Total ThanItYou Member
Available Point Balance:
as of 03/31/l7
33,358
» See page 3 for more Information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $1,274.78
Payment due date 05/02/17
Amount enclosed:
Account number ending in 1939
CITI CARDS
PO BOX 78045
Phoenix, AZ 85062-8045




                                                                                                                                EX. LLL - 064
ROBIN C DIMAGGIO
www.cl_elrds.com Page 2 ol 4
IrE_DrTHA NKYG Utl'BDD‘BIiE-ESEI'éHTTY: I'B??-693'GZIB}
Account flurnrnarwr
Trans. Post
date slate
Description
Payments. Credit: and Windmills
Standard Purchase:
....9???T.___
isiiiiij_l;
03:06. ER.
matinee"
iii???""miliiiiiiif
Lin_i__é
redness




                                                                  Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
'L'sieé'rr_ii""
'r_oii__dti
militia???”
.2222
'_i____io_'_'tiiii'_E_i__'_éil'elIoreWnWWW
We???
03”?
.... . . . ...
F‘_i____III?"
_iiilit::iii__
PATH r mmx't'o'




                                                                                           Exhibit LLL pt.1 Page 66 of 100
2222
""E__ii_o'iis"sfoefli_s"__b'_i'n_p'ii__'"""""""'
streamer'éia'sié_'esiisms“"E's"""""""""""
__é_____........___é_.__.._..."...._._.........___.
_i'_iiiiii_llis"r_é't'iri_eii""'ilroo_ii_ti'Fiili_'Ei““””"""""'
'______f_ELMi-E"mfié__s_ri_'oi_s'o_"""""'"
I
_g.“amai__....__d______m .
.
....4....................----
Fi_?
Iiiii'i'f
visit???
....___._..._...__....i_iiiiiiilil_iifff_f_
meme...“
iZWitt_ftf__........._.........ILI__..II
PAYMENT THANK YUU
:fiii__i
FT .HFFTTHAF‘E‘FIPF
jro Mentions
Ié_iité_i_é__i@___i__"i't_i_'iit_i_I"
13
_.WEE.HERE?itE_iiEEFf_ttiéih_tiFEiH:.E_......__._._
..Iiéééiiilitt‘iiiiiéi_
ran rm Hem
.r.$__3-° ° ° -E'E'.
.....EHEE
.Liiii_iiéliéi
Hits?
:i_tit_t
LIFE???
ijllli'i_é_i‘
111%???
iii___i
"-- I:::'_fr---.-...."..........:::...........
2.240 CFP Flier-e:
:__i_'___t_i_". #9315'f..iif???""'m"'I:TT:.LQ.._
W”?&i§§"_r‘_?___
Kite-iii
...???
it" iii:iLi:2""""""""'
.....___m “Emit
_ag
""LIZ_E—Iii
lift:ifiiiliflllIf"
Hm" ID: 391D231 5397279i3
Thlnit‘rou Poinris Earned This Period
31: on Travel
including Gas Stations
2:: on Dining
and Entertainment
is on Other Purchases
Total Earned
» Visit thankyou.com
to redeem points or see
full rewards details
Horus Points may take one to two pitting
U_ill to appear an you sialernent. Hease
refer to the speeiilir. terms and transition
pertaining to the promotion for further
debits.
+ e.2o1
+ 2.755
+ 5&3]
14,"!9




                                                                                                   EX. LLL - 065
ROBIN C DIMAGGIO
www.cltlcards.com
l-BOO-THANKYOUU-BOO'842-6596)(TTY: 1-377-693-0218)
Etlndm Purnh-Iul. unt'd
Trans. Post
date dlti DESUIptian
Amount
.
EI99E'EET....._.. 2222
_é_i__jI:""""""712iIIIIT;""""I'IIiii
.
"'52. 2222
2222
222292222"
"'"A'éié'i2'_sli" 2222
'5




                                                     Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
51 "'"Iéééiié_" 2222
'51 _'aé'ali_h' 2222
":"Efé'éé_éfm 2222
Afééii_mm 2222
"a ""Aééi__“ 2222
"6| """i_i_'ili'sn" 2222
HEW-H 2222
my..."
B__fi_
gamma"
_jfé_“""""'i___"'




                                                                              Exhibit LLL pt.1 Page 67 of 100
22225222"
m_da....
__hli'_iri'” 2222
.
"5|    ' 2222
" 2222
2222
USA 2222
AUSA 2222
éi'_i'mm"""Iii_é__'___é_i:1]Q1133:
E_a_‘_éi '“L§?_._____.__.54"'i3$§: 1155i" '
E???F...._._. 9.3!???.....EF'§I§J:§?!EF§f
{5| AIIZIWSA 2222
f___i___f.____......."'iii:Ié'ii_'____::E_éluf...
EFF”... 0.3.9.15.._...HED‘IFEEEWFWEFTEFEE?“-
éiéi_ié_é__i___iii"Eiiii'I:
‘I'Wii'55552:i:é‘é___i__i'é_""":IL'
"F_'__ii_m_______STE-EV"::T"
iniiii_f'TEN-“HEW?if'ii:WEHEWTEE“""I::I_
FE?WEE{WW__é_é_é__'_i__iIiiimeI'I
' aim:Iféi_g____if???EH:iiii'lf'mm_
"WEE""'iii_i___:3??""""""':LI"'
"'Héa____i___i'iillij'fmm
.... -----........_
33‘}???
..iI'W‘éif_W”"'i':I"""“I:
WEEWWEiiE___é___é___iIif_l_iiii
'_‘___fi_é__é_é__l_'_ii_iéiiiijl_llli
'E__i__if_gfé'_ééé___i_é___iiIEELSfillffiil_iii
W_"""FWW?W553%?E?iii}?_Eé__i___:ii:
"
_???a“EH}?Fél__ég__iiij_ifI:iiii:iffi'__l_fi'j
"Ei_é_fi___I_éiii_lb___é_i_é_I'L_éiéI:i:IIZIQIT.IT
""E_'_"§i'iéi"ia____i_ii______'_i__i:i:::_i”f.m
'i_f'____'ém" "'"5???_é‘é___i__f"will:
#3333333?"Ili__ié__é____i1:211:11:
"'HE'WWWEF35W:____i_i__:f"""1'fii:
Page .3 or 4




                                                                                      EX. LLL - 066
Hull" C DIHAGGID
standard Fletch-sec. cc_t'll
Irene Pest
date date
main ._
bl ASZOOUSA
IMME-
I _
""aa'aa'eaaca'ecaa_mtcacaaei'n '
.-
""i§6__i'_iti§ “at 361W eneaanaaceee
""""Renate'eace'iiiea'_ace"eea_seaa""_"""
"'b‘2:'ia§""'
6.] "nui_mh.
'ceztt'a'aamawaeucea
.




                                                                                                 Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
IFEFHE'“
Desc'?pticn
...__......___.._._._____......._....._LI??I€%IIIII;Iiiiii:2:111QII'.___.LILIIIZTILJZ.........
HER'IE_______t__..
__a_|_.u Juicer: uucacLLm mecema HILL ca _
2222
2222
2222
'"ee'e'e'"
'ee'aeatm'e""'"""i_aaemace I
www.clttnrcsmem




                                                                                                                          Exhibit LLL pt.1 Page 68 of 100
l-BD'L'I-THAHKYDUIIFEDD-Edz-E-SQEHTT‘I’: I'BTT'_ga‘DZ'IB]
Fees charged
Tehl he: charged In Ihil thg period acne
Interest charged
Tell! Internal charged in this billing period 511.“
Em? totals gear-tc-date |
Tat-lteeafharged
50$":
|
Interest charge calcu Iatlcn Days in caning cream
Annual percentaa: Balance subject
'_t_'_ti_'...
5W" Pm" I599“ Wt ._......5"WW
_Etanciarclhde
50-435
Yaw Annual Percentage Rate {APR} is the ennui interest rate can yaur account. APR: reheated
by W]: mar vary. Balances [attend by {D} are chi-mined by the daily baa-ice mthed
{includlng cement tramacticrrsj.
Acceunt messages
Cengratuiatiensl B using 1weer Citi Thanh‘raur_ Premier Cards 1.rau have _
aveided $36.53 in are‘ n transaction fees an purchases. This caicuratian Is
based on a 3% Ice that a charged or: the Citi Thanh'reu_ Preferred credit
card.
Remember, any charges above your receiving credit limit MUST BE PHD 1N
FULL by your statement'a payment due date.




                                                                                                                                  EX. LLL - 067
SITE:SD'CI TMzLG-SOOO ACID:P8711850
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2015 Account number ending in: l939
Billing Period: 04107117650411?
How to reach us
www.citlcards.cem
i-BOO-THANKYOU(l-800-842-6596)(TTY: 1-877-693-02ia)
BOX 6500 SIOUX FALLS. SD 57"?
Account Summary
Minimum payment due: Previous balance $0.00
Payments $0.00
New balance: 445.85
5 Credits -$166.73
Payment due date: 06/02/17 Purchases +5612.SB
Cash advances +5000




                                                                                              Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00
date listed above. you may have to pay a late fee of up to $35 and your APRs Interest +5000
may be Increased up to the variable Penalty APR of 29.99%. I $445 as
For information about credit counseling services. call 1-877-337-8l87. New ha ans: '
Credit Limit
Revolving Credit limit $20,000
000000 PW 72 A O
ROBIN C DIMAGGIO
05I01I17 05/01/17 72
SEE TRANSFER ACCT
AGOURA HILLS CA 91301-1601




                                                                                                                       Exhibit LLL pt.1 Page 69 of 100
Includes $3,200 cash advance limit
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $445.85
Payment dua date 06/02/17
Amount enclosed:
Account number ending in 1939
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-3045




                                                                                                                               EX. LLL - 068
ROBIN C DIMAGGIO www.cltlcards.com Page 2 0| 5
l-BOO-THANKYOUll-800-842-6596)(TTY: l-877-693-02l8)
Account Summary
Trans. Post
date date Description Amount
Payments, Credits and Adjustment:
04108 PAYMENT THANK YOU -$l.332.82
Ebaéadéb
_aaaadéd...
""""'“BARE”"Ei_EAKik"E'6Ii6i__h_f6_é__"ro_'o'ié__fth"""m""""'¥'§é§Z§'é
"""'65'i_ii""'Etc'fiiiiiixi'érE_'b__'éill'ié'é'fo'toré_éEf'KEcoUH'f"""""1§ioéffj
._émd_é_......_._...........:(
Standard Purchases
04/05 04/07 lNT‘IN "LCIS ROBLES HUS SOS-3704598 CA
o£i66"""""oiifd‘i"'"[65_BéEEE"Hé'_'iiao_aé'i'_o_éiiii:_o_ké'c_'""'"""""""""'""
6556”“"6266?""'éé‘M_EA‘KiKX'T'Ilioo'é_""i'iio__m_'o‘_ké;EX"""'""'""""""".""'




                                                                                   Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
5356"""""'in£6""'KEEt_f'iii'é_'_'Edeééilo'__éiliWLLE""‘f_'"""""""""""
"oéi'oé"""""'b'§fdé '""Réii_éié'E_EE'iN'sJU'_K_Efé'ooiéoiéia‘"'fi""""""
'_é_f’__wmiIII???'Z_jliiiéi__K”""I??Z€€""""'""I'ZL"""I"'Q___iiii'im'i '. .IIL'.
Foes charged
Total fees charged in this billing period 50-00
Interest charged
Total interest charged in this billing period 50-00
2017 totals year-to-date - I I I
Total fees charged in 2017 $0.00 _
I Total interest charged in 2017 $0.00 J
Ellling Dispute:




                                                                                                            Exhibit LLL pt.1 Page 70 of 100
TH_E FOLLOWING DISPUTE IS NOW EUNSIQEBEU RESOLVED I
WE"“35555-3555” """méé'ééé_i_"    "WI:IE_-a‘i




                                                                                                                    EX. LLL - 069
www.cltlcards.eom
ROBIN C DIMAGGIO
l-BOO-THANKYOUU-BOO-B42-6596)(TTY: 1-877-693-02l8)
Interest charge calculatlon Days in billing cycle:2B'
L Your Annual Percentage Rate (APR) is the annual interest rale on your account.
- Annual percentage Balance subject
Balance type rate (AP ) to interest rate Interest eharge
Standard Purch 15_99%(v)
'
Standard Adv
$0.00 DI) __ $0.00 |
25.99% (V) _$_o.oo (D) _ $0.00 |
Your Annual Percentage Rate (APR) is the annual interest rate on your account. APRs followed
by (V) may vary. Balances followed by (D) are determined by the daily balance method
(lnclud’ng current transactlons).
Page J or .5




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                        Exhibit LLL pt.1 Page 71 of 100




                                                                                                                                EX. LLL - 070
SITE:SD'CI TMzLG-SOOO ACID:P8711850
07/10/17 12:24:13
ROBIN C DlMAGGIO
Member Since 2015 Account number ending in: 8943
Billing Period: 04/07/17-05/04/17
How to reach us
www.cltlcards.com
i-BOO-THANKYDUN-8008426596)(TTY: i-877~693-0218i
BOX 6500 SIOUX FALLS, SD 5711?
Account Summary
Minimum payment due: Previous balance $1,274.78
Payments 62,510.80
New balance: 971.23
5 Credits -$39.99
Payment due date: 06/0 2/17 purchases +$2.247.24
Cash advances +5000




                                                                                              Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +5000
date listed above. you may have to pay a late fee of up to $35 and your APRs mterest +50 00
may be increased up to the variable Penalty APR of 29.99%. '
For information about credit counseling services. cail 1-877-337-8137. new balance $971.23
Credit Limit
Revolving Credit limit $20,000
Includes $3,200 cash advance limit
Available Revolving credit $19,023
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD




                                                                                                                       Exhibit LLL pt.1 Page 72 of 100
11! 117
AGOURA HILLS CA 91301-1601
includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 04/30/17
49.228
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $25.00
New balance $971.23
Payment due date 06/02/17
Amount enclosed:
Account number ending in 6943
CITI CARDS
PO BOX 78045
Phoenix. AZ 35062-8045




                                                                                                                               EX. LLL - 071
R_BIN i: HIMAEGIQ
m.ottleardl.torrr Page a at J
l_D-THANHTGUtI-___r_ 42*6596HTT‘I": I-BTT-E‘Q‘lv_il_i
Aceeunt Summaryr
Pest
date
H... ..................... .-
Trans.
_lsa‘iption
Payments, _redit: and Mjuetmmts
...F?!‘i!'9_'. ...P””§NT.I'.1§T‘“° U
59900000 '
.
. .......... .u.
standard Purchases
9???.......__.9t{9?....__t!T'“ 'Lnt_ctaF____‘E




                                                                      Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
"st" "Ar-arm“
.:éiiii_é___ééi"mitt?"
IDSVEYU_J-M
""si""""n____i”"" 'r‘r‘rr
0000
:51 "Entries?" 2222
":Eilii_i'é_tit.t:.
Fees charged
FEE'Wit“WEt_i""m___i___ii_fi::.l_i
..it???fTit?'_'__g“itW_a_f____i_i_____é:II:
5° *miW“_t"'“_it?_t__i_ll




                                                                                               Exhibit LLL pt.1 Page 73 of 100
_éttfif"WWW”m"""Ettiii'i_:FEE_I::12]:
""f:'_t_t_t_'_“""'""'II_g_é_____:ii:IIIITT'LI.
m'FEat?ittit?'t___ttt__ét_éét_EH:ITLIi_fI .
Rt???i'"$5"_tEW'EH"""tiét_tit_i}?i:1:21:22:
""_t_ttt_ttéiit__i:fffI:
""t_i_'_'_é__"iii?iffi_i_______i1%inLII:
'"'"WWLIII2'"'F_m'_t'ili_it__‘i"""'E__é__i_f_f:"""'_
2222
' :2I"it???I:Ti:u.Tfllliimlllf
.361???
Ht???
lili_tlt_
TEE???
:53???
it}???
it???
Total fee: charged In thl: “lino eerie-I
Interest charged
Total Interest than“! in this hllinq period
$0.00
$0.00
2017 totals year-to-date
Total fees charged in 2017 $
0.00
I Total interest charged in 2017 $0.06
Billing Disputes
. .. ...IEFEF’LLQWEEFEWEJEHEFT'TEPNSFDFEFP.FE?“'-"TEE.....___... ..
W“ “55:55.?_-F_“ .......EE‘?"239'2“-E€..E'f‘:° l
Hemher ID: 591¢23153972T993
Thanh'i'eu Points Earned This Period
an on Travet
including Gas Stations + 0
2: on Dining
and Entertainment
131 on Other Purshases
Total Earned
1) Visit thankyouxom
to redeem points or see
full rewards details
Bows Points may telre one to tan hitting
times to appear an your: statement. Piease
refer to the speeifie term: and conditions
pertaining to the promotion for further
details.
+1.")?
+ LEEIt
3.761




                                                                                                       EX. LLL - 072
www.ctticardscnm
i-E_CI-T HhNit‘r_tJii-B__-E4Z'EE'9E] iTT'r: i-ET T-693-C-2i_i
ROBIN C DIMAGGH}
Interest charge c-a-Iculatlan"
Your Annual Percentage Rate (APR) is Ihe annual interest rate on your accent. I
Days in raining nae-:23 |
Annual percentage Balance cubical
_ rate one ) “Interest rate________htenst_ei_1lme|
Balance type
Standard Purch 15.99% (v)
16W_féé'"m""QI:Iif:II;LQ""""'"
:_"'§ié_dard£a§"'
'""'5'Erika}:i:2ffLL_éI-ééll
25.99% (V)
Your Annual Percentage Rate (APR) is the annual Interest rate can your accnu nt. AFR: fnl'nwud
by (V) may vary. Balances fallnwed by (D) are determined by the daily balance methle




                                                                                                 Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
(Includan current transactiansj.
Account messages
Remember. any charges above your rewiring credit iimit MUET BE PAID IN
FULL by ynur statement's payment due date.
Page .1 or .3




                                                                                                                          Exhibit LLL pt.1 Page 74 of 100




                                                                                                                                  EX. LLL - 073
SITE:SD-Cl TMtLG-SOOO ACID:P8711350
07/10/17 12:24:18
ROBIN C DIMAGGIO
Member Since 2015 Account number ending in: 8943
Billing Period: 05/05/17-06/06/17
How to reach us
www.cltlcards.com
1-800-THANKYOUll-800-842-6596)(TTY: 1-377-693-02l8i
BOX 6500 SlOUX FALLS. SD 57"?
Account Summary
Minimum payment due: Previous balance $971.23
Payments -$7 391.39
New balance: 0.00 '
5 Credits -$0.00
Payment due date: 07/02/17 Purchases +$6.420.16
Cash advances 4-50.00




                                                                                              Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warnlng: If we do not receive your minimum payment by the Fees +$0.00
date listed above. you may have to pay a late fee of up to $35 and your APRs Interest +5090
may be Increased up to the variable Penalty APR of 29.99%.
New balance $0.00
For information about credit counseling services, call 1‘877-337-8187.
000000 PW 00 A 0
ROBIN C DIMAGGID
5737 KANAN RD
#117
AGOURA HILLS CA 91301-1601
Credit Limit




                                                                                                                       Exhibit LLL pt.1 Page 75 of 100
Revolving Credit limit $20,000
Includes $3.200 cash advance-limit _
Available Revolving credit 520.000
Includes $3.200 available for cash advances
Total ThankYou Member
Available Point Balance:
as of 05/31/17
51.989
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $0.00
New balance $0.00
Payment due date 07/02/17
Amount enclosed:
Account number ending in 8943
CITI CARDS
PO BOX 73045
Phoenix, AZ 35062-8045




                                                                                                                               EX. LLL - 074
ROBIN C DIMAGGIO
www.cltlcardacom Page 2 cl 2
I'BD'D'T HANKY_Uti'EOD-EduE-__g_it_'_ l-ETT-EEIB'DEIEI
Account Siiimrnar'nr
Trans. Post
date date Description
......... .-- um. II'l'llll--II-"I-II----H-ll|lll|-I-IIIII'I'III'Il—rrl
Amount
Payments. CHITH'F and Adiuatmente
053'... “THEN T"“‘i.'.‘...“.'.‘?'.‘.-!...
.........:§i«39'39
.
_tanderd Purcneeea
03m GEMS REVEREEHOTEL FOUR SEAS ANAL!
I
Eo'i_nit'éiiitn'.E6ii"ili't'tit'éiiltieil'i_é"Eit'"""""""""eiiii§;ti'§




                                                                                                   Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
' e'iilt'ii_éee""'""tti_ii_il‘iiiilt'Eii'"""""""""""""'tiiéiifi'ti
"iitiiv'étiii'ivitii'iiitittt'_title'io'_oti"Et"""""""i
e
h u$?l_.53
Fees charged
Tit-i fee: cit-race In the billing period $13M
Interest charged
Total Inter-at charged in thin billing period “so
eorr totals year-to-ilate
“i!!!” mm“    5° “
Total interact charged in ao_ I $0.00




                                                                                                                            Exhibit LLL pt.1 Page 76 of 100
Billing Dispute:
THE F'DLLG'A'iNG __NDlTI_NAL EREDFT WAS REVERSED
"iiiiiiii-ii'ii
Interest charge calculation Dave in billing mien
{HEATH H}! “P” ‘i‘i__i‘i‘ “a?” HERE??? ..
Annual parent a Balance euoject
Balance two _ rate {A to interact rate Inlet-eat chem
Standard Patch [5.99% {in
Standard Adv
...tie?!iii__..I.ii..................ié}iie.
‘i'oiir Annual Percentage Rate {APR} It the annual interest rate or: veer account. APR: followed
bv lift my vie-v. Holmes renewed by {D3 are detennlned lav tne pally balance Mth_d
tinctude-u; current trans-actions}.
Account messages
Remember. anv charges above vcur revolving credit limit MUST BE PAiD iN
FULL nv vour statement‘s onvment due date.
Member ID: BHQEJIESETZTHE
Thanli'rou Points Earned This Period
an on Travel
including Gas Stations
2:: on Dining
and Entertainment + D
1v. on Other Purchases + Laid
Total Earned 16.511}
» Visit thankyouxom
to redeem points or see
full rewards details
Home mint: may talie one to two billing
cycle: to appear on vow statement. Please
refer to the specific terms and condition-is
pertaining to the promotion for further
details.
+ 15,134




                                                                                                                                    EX. LLL - 075
SITESD'CI TMlLG-SOOO ACI D:P3711350
07/ 10h? 12:24zi8
ROBIN C DIMAGGIO
Member Since 2015 Account number ending in: 8943
Billing Period: 06I07li7 437106117
How to reach us
www.citlcards.eom
l-BOO-THANKYOUil-800-842-6596HTTY: 1‘877-693-02l8)
BOX 6500 SIOUX FALLS. SD 5711?
Account Summary
Minimum payment due: $49.00 Previous balance 50-00
Payments -$629.75
New balance: 3 308.47
$ ' Credits -$48.25
Payment due date: 08/02/17 Purchases +53,9ae.47
Cash advances +$0.00




                                                                                               Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Late Payment Warning: If we do not receive your minimum payment by the Fees +$0.00
date listed above. you may have to pay a late fee of up to $35 and your APRs lnterest +50 00
may be increased up to the variable Penalty APR of 29.99%. 3 306 '4
For information about credit counseling services. call 1-877-337-Bl87. New baIance s ' . 7
Credit Limit
Revolving Credit limit $20,000
Includes $3.200 cash advance limit
Available Revolving credit $16,691
000000 PW 00 A 0
ROBIN C DIMAGGIO
5737 KANAN RD




                                                                                                                        Exhibit LLL pt.1 Page 77 of 100
it 117
AGOURA HILLS CA 91301-1601
includes $3.200 available for cash advances
Total ThanItYou Member
Available Point Balance:
as of 05/31/17
51.989
» See page 3 for more information
about your rewards
Please print Address Changes on the reverse side
Minimum payment due $49-00
New balance $3,308.47
Payment due date 08/02/17
Amount enclosed:
Account number ending in 8943
CITI CARDS
PO BOX 78045
Phoenix. AZ 85062-8045




                                                                                                                                EX. LLL - 076
ROBIN I: DIHAGGI_
www.cltI-oaroacom Page 2 ol 4
I'B__'THAHH‘fDUilr___-B‘iE-ESHIHTTY: PET? _'lS-CIZIBI
Account Ell-HIM!”
Trans. Post
date date
Description
Payment. Credit: and Adjustment:
standard Purchase:
_i_.....___...9§{9[..
eeiiidda
weenie"
'L'ii_iiii'_éo'"
iitiiiti"""""
adenine“
iii'_i'"




                                                                        Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
aria-liege“
05:93
emit-ii '
'we“'iiiii_ii'I'_i'__'i__iiiiéieeueiiiitiéijit}....___._.....___.....
‘Eire"'"'tiit'éii'_iiiiieieii'e_e'c'e'icoigiiiil'iiiti__nn: '
eeri'iiaéieaeeieeiiiiename:'iiit'jg_________f
itiiaeii'eiie‘rse """iaaiiiii'musq'an
Eii___t_i_'_if_é_Ii_éi_i___'“'19EE.T....___.........___.
"PEEIETL"
"_é_i
are...




                                                                                                 Exhibit LLL pt.1 Page 78 of 100
e1 ASSMUSA
_. “:0”
P533 “5
. . . I
“@Ié_iie_ii_e....___.IZ2::21...:....__Z..._..__.._....
“WENIIHW'FIPH...
id'”“!ii° ° ° ° _..f.iie"
GPE'CiT‘I' OF OKNARD P0 BBB'_Od?BBa [N
""'"'ii_i‘h_fi_i_e"""'5W__:'§3' WKillian
""'iiii_i‘i'eriiiaii_n'ii_e"é_ii_ii‘i""ei;""f jj"_'_ff_______j_
"'"__é_il_if_f_i_i_"lea__eifi_um
. .
Em__f____ liieii__ii_
2222
" 2222
2222
e1""""i.'és'.£itis'i§_' 2222
"F‘i__ii‘i_mm _"""'iiiié_i_é_é_e__QCCCiILLILICCiIII
2222
2222
2222
2222
2222
2222
el "xenon "
2222
at """Eéé'l'eu_"""' 2222
'T'H'E'_'i'iiiiiiiiii_ijffIFiiiiiii_i_iifi_lIITILLIfiIIII
rim-Emir
2222
We “HEW?'"EHi:iit:
R.
"#15 a" ecutune__....
Ni
,. ........_...u...... u... . . . u... run-n
'Eiéf__'_a_a_f______i__i_é_EH:1::
11""“iii_i'i'iiii_ié___IEEKI_illfiiiiiifffi
_____'_552‘9.15
"5W:iiif:1:7:_'2::____.......___._..
“II” I
....§Ei?.—i§
it}???
Iii???
:liifiéeie_
Ili_e'iii
iii???
. ..
...._._...fa.t_a..:....
"'Ei:33§"'t5'_n'f"i A_'__ééi'" I
F: HES? L'Iéliietfei:__::22I2:2fffffi___i_:
'Zi_m_iiflf
""ii__liéiii_
Member ID: emoeaioae'rereoa
Thank‘r‘ou Polnts Barrier: Thlo Period
31: on Travel
including Gas statio n5
2: on Dining
and Entertainment
lit on other Purchases
Total Earned
)) Visit thankyou.com
to redeem points or see
full rewards details
Bonus Points ruin:r talte One to two hitting
cycles. to appear on your statement. Pteasc
refer to the speci_c lerrns and conditions
pertaining to the promotion tor further
details.
+ LTIO
+ 4.195
+ 1.259
7,117




                                                                                                         EX. LLL - 077
ROBIN C DIMAGGIO www.cltlcards.com Page J or 4
I-BOO-THANKYOU(l-800-842-6596)(TTY: l-877-693-0218)
standard Patch-cu. unt'll
Trans. Past
data data Description Amount
6552'"""""6€t§i""" "it FME'_EEi'a'EEJa__I'H'_IL§"EK""""""'"""Eéaj'a
qéi__agh...” all
651i_"""""'66fé' ttr' ff___iEHIE”'"'tttaa_iitla'ittil'ii_""""'"""""""'§iailij_
6Lgéé_g....._.... a
"dé?§§"""""'bi§ Eau_liH't'éééEééaiai_iia'a_di_'a_iaé"_""""""""""§5_laa
ihgj_m a
am?" ""'féé""'Ea'__litirt'é_aasaa'"""'"'_éé'ai'a'd_iéia_ié_i'_t"""""""""§iii§;aE
I
. . .. “Eh
wage-Eggs: R
"f_a_a '"EEK_iii__i‘_t___h_t_'_ta'f_itt'_i_'Eli""""_f'_éaiéi




                                                                                   Case 1:17-ap-01099-VK   Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
""Eath‘_E_E_'h__Et___E_élabialHiiLL§"c1i"""”
""""Ei""IIE?I§§?@""""Lj??2%é"""""'"l'LjjjjI:TII'""""""IIIIIIILL""""
Fccs charged
Total in: chug-d in thlc billing pct-loll $0M
Intarast charch
Tchl Ill-mt chm“ in this lilting Hriod $0.00
‘ 201'? tctals fur-trial:
Total in: charged in can mac
L Tat-I interest chug-a in can $0.00
Interact charqc calculation am in hith :wam_
Annual porcu- c Balance culjccl




                                                                                                            Exhibit LLL pt.1 Page 79 of 100
""- m’ ..._!_';'."'“"=* “‘73.... WW???”
tité__iiiéi__III:fifiil_l_é__é_i
|_ Standard Adv 25.24% m Sonata} sauna.




                                                                                                                    EX. LLL - 078
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                          Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                               Payment Information
Previous Balance                                            $34.37         New Balance                                                                      $5.95
Payments                                                  -$100.00         Minimum Payment Due                                                              $5.95
Other Credits                                               -$0.00         Payment Due Date                                                     February 17, 2015
Purchases                                                  +$71.58
Cash Advances                                               +$0.00         Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00         date listed above, you may have to pay alate fee up to $35.
Interest Charged                                            +$0.00         Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                 $5.95          period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                  Case 1:17-ap-01099-VK                                           Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                             $0.00              If you make no additional         You will pay off the          And you will
Credit Limit                                              $800.00               charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                          $769.00
Cash Advance Limit                                        $100.00             Only the minimum payment                1 month                          $6
Available Cash Limit                                      $100.00          If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 01/21/2015
Next Statement Closing Date                            02/18/2015
Days in Billing Cycle                                          31




                                                                                                                                                                                   Exhibit LLL pt.1 Page 80 of 100
Thank you for purchasing 26 gallons of Shell fuel this month. Remember if you purchase 45 gallons or more in a month you receive a savings of 5
cents/gallon up to 100 gallons. Use your Shell Drive for Five Card to purchase Shell Nitrogen Enriched Gasolines or Shell Diesel every month and see the
savings.
TRANSACTIONS
Trans Date Description                                                                                  Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
12/23        5134 KANAN RD AGOURA CA                   11.010 GAL UNLEADED                              P936600PN00ZEB49Q                    0552323           $         31.28
12/26        3101 ARTESIA BLVD TORRANCE CA                 3.600 GAL UNLEADED                           P936600PS010F6ZF8                    0896993           $         10.01
12/31        5134 KANAN RD AGOURA CA                   11.050 GAL UNLEADED                              P9366000100ZK1AV0                    0601542           $         30.29
TOTAL CARD 0002                                                                                                                                                $         71.58
01/02        PAYMENT - THANK YOU                                                                        P9194000409H65D0A                                      $        100.00-
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                  Page 1 of 4                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                  February 17, 2015
New Balance                                                   $5.95
Past Due Amount                                               $0.00
Minimum Payment Due                                           $5.95
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                               PO BOX 183018
117                                                                                            COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0000595 0000595 0010000 00007575007350663 1310




                                                                                                                                                                                           EX. LLL - 079
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                      Reference #                    Invoice #       Amount
FEES
TOTAL FEES FOR THIS PERIOD                                                                                     $        0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                 $        0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015           $0.00
Total Interest Charged in 2015       $0.00
INTEREST CHARGE CALCULATION                                 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                     Annual Percentage Rate (APR)        Balance Subject to Interest Rate               Interest Charge
PURCHASES
REGULAR                                   24.99% (M)(V)                                   $0.00                                $0.00
CASH ADVANCES
REGULAR                                   29.95% (M)(V)                                   $0.00                                $0.00




                                                                                                   Case 1:17-ap-01099-VK                     Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
(V) = Variable Rate
shellcreditcard.accountonline.com
Page 3 of 4




                                                                                                                                              Exhibit LLL pt.1 Page 81 of 100




                                                                                                                                                      EX. LLL - 080
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                          Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                Payment Information
Previous Balance                                             $5.95          New Balance                                                                   $12.70CR
Payments                                                  -$100.00          Minimum Payment Due                                                             $0.00
Other Credits                                               -$0.00          Payment Due Date                                                       March 17, 2015
Purchases                                                  +$81.35
Cash Advances                                               +$0.00          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00          date listed above, you may have to pay alate fee up to $35.
Interest Charged                                            +$0.00          If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                $12.70CR




                                                                                                                 Case 1:17-ap-01099-VK                               Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Past Due Amount                                             $0.00
Credit Limit                                              $800.00
Available Credit                                          $800.00
Cash Advance Limit                                        $100.00
Available Cash Limit                                      $100.00
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 02/18/2015
Next Statement Closing Date                            03/20/2015
Days in Billing Cycle                                          28
Please see the enclosed privacy notice for important information.
Your account has a credit balance that is owed to you. You may make charges against it if your account is open. We will send you a refund of any




                                                                                                                                                                      Exhibit LLL pt.1 Page 82 of 100
remaining balance of $1.00 or more after the balance has been on your account for 90 days or upon request made to the customer service address or
phone number above.
Thank you for purchasing 32 gallons of Shell fuel this month. Remember if you purchase 45 gallons or more in a month you receive a savings of 5
cents/gallon up to 100 gallons. Use your Shell Drive for Five Card to purchase Shell Nitrogen Enriched Gasolines or Shell Diesel every month and see the
savings.
SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                   Page 1 of 8                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                      March 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                               $12.70 CR
Past Due Amount                                                $0.00
Minimum Payment Due                                            $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                              PO BOX 183018
117                                                                                           COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0000000 0000000 0010000 00007575007350663 1310




                                                                                                                                                                              EX. LLL - 081
Account: **** **** **** 0663
TRANSACTIONS
Trans Date Description                                                                     Reference #                    Invoice #       Amount
CARD 0002 TRANSACTIONS
01/21         4831 LAS VIRGENES RD CALABASAS CA       7.621 GAL UNLEADED                   P9366000N00Y02R0Z              0067231         $        20.12
01/26         5134 KANAN RD AGOURA CA           12.250 GAL UNLEADED                        P9366000V0101A2F0              0751206         $        29.89
02/02         5134 KANAN RD AGOURA CA           12.053 GAL UNLEADED                        P936600120105AAJ9              0793232         $        31.34
TOTAL CARD 0002                                                                                                                           $        81.35
02/03         PAYMENT - THANK YOU                                                          P9194001309PHH8ZE                              $      100.00-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                   $         0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                               $         0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015                         $0.00
Total Interest Charged in 2015                     $0.00




                                                                                                                 Case 1:17-ap-01099-VK                      Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
INTEREST CHARGE CALCULATION                                                Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                    Annual Percentage Rate (APR)        Balance Subject to Interest Rate               Interest Charge
PURCHASES
REGULAR                                                  24.99% (M)(V)                                   $0.00                              $0.00
CASH ADVANCES
REGULAR                                                  29.95% (M)(V)                                   $0.00                              $0.00
(V) = Variable Rate
shellcreditcard.accountonline.com
Page 3 of 8




                                                                                                                                                             Exhibit LLL pt.1 Page 83 of 100




                                                                                                                                                                     EX. LLL - 082
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                     SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                            Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                 Payment Information
Previous Balance                                             $12.70CR        New Balance                                                                       $230.26
Payments                                                     -$0.00          Minimum Payment Due                                                                $25.00
Other Credits                                                -$3.53          Payment Due Date                                                            April 17, 2015
Purchases                                                  +$246.49
Cash Advances                                                +$0.00          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                  +$0.00         date listed above, you may have to pay alate fee up to $35.
Interest Charged                                              +$0.00         Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                 $230.26          period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                   Case 1:17-ap-01099-VK                                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                               $0.00             If you make no additional          You will pay off the          And you will
Credit Limit                                                $800.00               charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                            $569.00
Cash Advance Limit                                          $100.00            Only the minimum payment                11 months                      $258
Available Cash Limit                                        $100.00          If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                      $0.00
Statement Closing Date                                   03/20/2015
Next Statement Closing Date                              04/20/2015
Days in Billing Cycle                                            30




                                                                                                                                                                                   Exhibit LLL pt.1 Page 84 of 100
Thank you for purchasing 71 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                    Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
02/21         5134 KANAN RD AGOURA CA            9.762 GAL UNLEADED                                       P9366001M010H24LH                    0916379           $        31.23
02/26         5134 KANAN RD AGOURA CA           11.141 GAL UNLEADED                                       P9366001S010KDJD0                    0941096           $        40.10
03/03         5134 KANAN RD AGOURA CA            9.741 GAL UNLEADED                                       P9366001Z010N91EP                    0971069           $        35.07
03/05         22295 MULHOLLAND HWY CALABASAS CA         8.571 GAL UNLEADED                                P936600210102JHZ1                    0764472           $        30.00
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                    Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                          April 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                     $230.26
Past Due Amount                                                    $0.00
Minimum Payment Due                                              $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                                PO BOX 183018
117                                                                                             COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0002500 0023026 0010000 00007575007350663 1319




                                                                                                                                                                                           EX. LLL - 083
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                           Reference #                    Invoice #       Amount
03/12         5134 KANAN RD AGOURA CA   11.650 GAL UNLEADED                      P9366002800XWJ56A              0030338         $        41.23
03/16         5134 KANAN RD AGOURA CA   10.862 GAL UNLEADED                      P9366002Q00XZ77F0              0058214         $        38.03
03/17         5134 KANAN RD AGOURA CA    8.811 GAL UNLEADED                      P9366002D00Y017WF              0066738         $        30.83
TOTAL CARD 0002                                                                                                                 $      246.49
03/20         LOYALTY REWARD                                                                                                    $         3.53-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                         $         0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                     $         0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015              $0.00
Total Interest Charged in 2015          $0.00
INTEREST CHARGE CALCULATION                                      Your Annual Percentage Rate (APR) is the annual interest rate on your account.




                                                                                                       Case 1:17-ap-01099-VK                      Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Type of Balance                          Annual Percentage Rate (APR)        Balance Subject to Interest Rate               Interest Charge
PURCHASES
REGULAR                                         24.99% (M)(V)                                  $0.00                                $0.00
CASH ADVANCES
REGULAR                                         29.95% (M)(V)                                  $0.00                                $0.00
(V) = Variable Rate
shellcreditcard.accountonline.com
Page 3 of 6




                                                                                                                                                   Exhibit LLL pt.1 Page 85 of 100




                                                                                                                                                           EX. LLL - 084
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                     SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                             Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                   Payment Information
Previous Balance                                             $230.26           New Balance                                                                     $228.12
Payments                                                    -$300.00           Minimum Payment Due                                                              $25.00
Other Credits                                                 -$4.68           Payment Due Date                                                            May 17, 2015
Purchases                                                  +$302.54
Cash Advances                                                 +$0.00           Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                   +$0.00          date listed above, you may have to pay alate fee up to $35.
Interest Charged                                               +$0.00          Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                  $228.12           period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                     Case 1:17-ap-01099-VK                                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                                $0.00              If you make no additional          You will pay off the          And you will
Credit Limit                                                 $800.00                charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                             $521.00
Cash Advance Limit                                           $100.00             Only the minimum payment                11 months                      $256
Available Cash Limit                                         $100.00           If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                       $0.00
Statement Closing Date                                   04/20/2015
Next Statement Closing Date                              05/21/2015
Days in Billing Cycle                                             31




                                                                                                                                                                                     Exhibit LLL pt.1 Page 86 of 100
Thank you for purchasing 94 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                      Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
03/21         22295 MULHOLLAND HWY CALABASAS CA           3.350 GAL UNLEADED                                P9366002H0109REGD                    0839803           $        11.27
03/24         5134 KANAN RD AGOURA CA             12.211 GAL UNLEADED                                       P9366002L00Y40ZMW                    0108597           $        41.02
03/28         23650 VICTORY BLVD WOODLAND HILL CA        12.363 GAL UNLEADED                                P9366002R00Y7QWWW                    0143958           $        38.81
04/01         5134 KANAN RD AGOURA CA             12.481 GAL UNLEADED                                       P9366002W00Y9MLB4                    0167791           $        40.69
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                      Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                           May 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                     $228.12
Past Due Amount                                                    $0.00
Minimum Payment Due                                              $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                                  PO BOX 183018
117                                                                                               COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00826 0002500 0022812 0030000 00007575007350663 1316




                                                                                                                                                                                             EX. LLL - 085
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                                         Reference #                    Invoice #       Amount
04/04         22001 VANOWEN ST CANOGA PARK CA            3.210 GAL UNLEADED                    P9366002Z00ZWE8S9              0700153         $        10.23
04/06         22295 MULHOLLAND HWY CALABASAS CA             2.030 GAL UNLEADED                 P93660031010G9WRB              0908434         $         6.49
04/09         7710 HOLLYWOOD WAY BURBANK CA              9.612 GAL UNLEADED                    P9366003400Z63NKL              0466003         $        30.00
04/09         5134 KANAN RD AGOURA CA              3.211 GAL UNLEADED                          P9366003400YEHW80              0218990         $        10.15
04/13         78998 HIGHWAY 111 LA QUINTA CA         8.721 GAL UNLEADED                        P93660038010Q9DH0              0866335         $        27.21
04/14         5134 KANAN RD AGOURA CA              2.050 GAL UNLEADED                          P9366003900YHX4F3              0254136         $         6.44
04/15         23650 VICTORY BLVD WOODLAND HILL CA          6.720 GAL UNLEADED                  P9366003A00Z04N0A              0403410         $        20.16
04/16         5134 KANAN RD AGOURA CA             12.143 GAL UNLEADED                          P9366003B00YJV389              0263954         $        40.06
04/17         43411 MONROE INDIO CA             5.561 GAL SUPER                                P9366003D00Z5GYKM              0459859         $        20.01
TOTAL CARD 0002                                                                                                                               $      302.54
04/04         PAYMENT - THANK YOU                                                              P9194003009EVM4HV                              $      300.00-
04/20         LOYALTY REWARD                                                                                                                  $        4.68-
FEES




                                                                                                                 Case 1:17-ap-01099-VK                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
TOTAL FEES FOR THIS PERIOD                                                                                                       $         0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                   $         0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015                           $0.00
Total Interest Charged in 2015                       $0.00
INTEREST CHARGE CALCULATION                                                    Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                     Annual Percentage Rate (APR)           Balance Subject to Interest Rate               Interest Charge
PURCHASES
REGULAR                                                    24.99% (M)(V)                                     $0.00                              $0.00
CASH ADVANCES




                                                                                                                                                                 Exhibit LLL pt.1 Page 87 of 100
REGULAR                                                    29.95% (M)(V)                                     $0.00                              $0.00
(V) = Variable Rate
shellcreditcard.accountonline.com
Page 3 of 6




                                                                                                                                                                         EX. LLL - 086
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                           Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                 Payment Information
Previous Balance                                           $228.12           New Balance                                                                     $104.63
Payments                                                  -$316.00           Minimum Payment Due                                                              $25.00
Other Credits                                               -$2.68           Payment Due Date                                                           June 17, 2015
Purchases                                                +$195.19
Cash Advances                                               +$0.00           Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00          date listed above, you may have to pay alate fee up to $35.
Interest Charged                                             +$0.00          Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                $104.63           period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                   Case 1:17-ap-01099-VK                                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                              $0.00              If you make no additional          You will pay off the          And you will
Credit Limit                                               $800.00                charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                           $670.00
Cash Advance Limit                                         $100.00             Only the minimum payment                5 months                       $110
Available Cash Limit                                       $100.00           If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                     $0.00
Statement Closing Date                                 05/21/2015
Next Statement Closing Date                            06/19/2015
Days in Billing Cycle                                           31




                                                                                                                                                                                   Exhibit LLL pt.1 Page 88 of 100
Thank you for purchasing 54 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                    Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
04/20         78998 HIGHWAY 111 LA QUINTA CA              8.831 GAL UNLEADED                              P9366003F010HBYWT                    0919597           $        28.26
04/23         5134 KANAN RD AGOURA CA                  4.620 GAL UNLEADED                                 P9366003J00YNWBQJ                    0306308           $        15.71
04/23         5134 KANAN RD AGOURA CA                  8.820 GAL UNLEADED                                 P9366003J00YP8LHS                    0310334           $        30.00
04/28         5134 KANAN RD AGOURA CA                  2.330 GAL UNLEADED                                 P9366003P00YSDXVV                    0343525           $         8.64
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                    Page 1 of 4                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                        June 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                   $104.63
Past Due Amount                                                  $0.00
Minimum Payment Due                                            $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                                PO BOX 183018
117                                                                                             COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0002500 0010463 0031600 00007575007350663 1319




                                                                                                                                                                                           EX. LLL - 087
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                                        Reference #                    Invoice #       Amount
04/29         5134 KANAN RD AGOURA CA              1.500 GAL UNLEADED                         P9366003R00YV1A8W              0349878         $         5.71
05/03         23650 VICTORY BLVD WOODLAND HILL CA          2.640 GAL UNLEADED                 P9366003W00ZRDWX0              0658088         $        10.15
05/06         23650 VICTORY BLVD WOODLAND HILL CA          4.160 GAL UNLEADED                 P9366003Z00ZXZWX3              0716415         $        15.67
05/09         5134 KANAN RD AGOURA CA             10.251 GAL UNLEADED                         P9366004200Z1AT1N              0415893         $        40.00
05/16         23650 VICTORY BLVD WOODLAND HILL CA          5.300 GAL UNLEADED                 P93660049010BWT19              0862193         $        20.98
05/20         5134 KANAN RD AGOURA CA              5.060 GAL UNLEADED                         P9366004D00Z8MJXM              0492835         $        20.07
TOTAL CARD 0002                                                                                                                              $      195.19
05/01         PAYMENT - THANK YOU                                                             P9194003V09A0R7H6                              $      316.00-
05/21         LOYALTY REWARD                                                                                                                 $        2.68-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                      $         0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                  $         0.00




                                                                                                                  Case 1:17-ap-01099-VK                        Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
2015 Totals Year-to-Date
Total Fees Charged in 2015                           $0.00
Total Interest Charged in 2015                       $0.00
INTEREST CHARGE CALCULATION                                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                     Annual Percentage Rate (APR)          Balance Subject to Interest Rate               Interest Charge
PURCHASES
REGULAR                                                    24.99% (M)(V)                                    $0.00                              $0.00
CASH ADVANCES
REGULAR                                                    29.95% (M)(V)                                    $0.00                              $0.00
(V) = Variable Rate
Page 3 of 4




                                                                                                                                                                Exhibit LLL pt.1 Page 89 of 100




                                                                                                                                                                        EX. LLL - 088
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                    SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                            Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                 Payment Information
Previous Balance                                            $104.63          New Balance                                                                       $180.66
Payments                                                   -$200.00          Minimum Payment Due                                                                $25.00
Other Credits                                                -$3.65          Payment Due Date                                                             July 17, 2015
Purchases                                                 +$279.68
Cash Advances                                                +$0.00          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                  +$0.00         date listed above, you may have to pay alate fee up to $35.
Interest Charged                                              +$0.00         Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                 $180.66          period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                   Case 1:17-ap-01099-VK                                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                               $0.00             If you make no additional          You will pay off the          And you will
Credit Limit                                                $800.00               charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                            $619.00
Cash Advance Limit                                          $100.00            Only the minimum payment                8 months                       $197
Available Cash Limit                                        $100.00          If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                      $0.00
Statement Closing Date                                  06/19/2015
Next Statement Closing Date                             07/21/2015
Days in Billing Cycle                                            29




                                                                                                                                                                                   Exhibit LLL pt.1 Page 90 of 100
Thank you for purchasing 73 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                    Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
05/23         5134 KANAN RD AGOURA CA             3.800 GAL UNLEADED                                      P9366004G00ZAKD7S                    0513093           $        15.07
05/26         23650 VICTORY BLVD WOODLAND HILL CA        7.110 GAL UNLEADED                               P9366004K00XTZNKZ                    0003319           $        27.44
05/29         23650 VICTORY BLVD WOODLAND HILL CA        4.521 GAL UNLEADED                               P9366004P00XYGSF6                    0050872           $        17.18
05/30         5134 KANAN RD AGOURA CA             3.870 GAL UNLEADED                                      P9366004P00ZF8AYY                    0561894           $        15.10
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                    Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                          July 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                     $180.66
Past Due Amount                                                    $0.00
Minimum Payment Due                                              $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                                PO BOX 183018
117                                                                                             COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00826 0002500 0018066 0020000 00007575007350663 1316




                                                                                                                                                                                           EX. LLL - 089
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                                        Reference #                    Invoice #       Amount
05/31         23650 VICTORY BLVD WOODLAND HILL CA          1.310 GAL UNLEADED                 P9366004R00Y1MQE5              0083824         $         5.00
05/31         5134 KANAN RD AGOURA CA             1.300 GAL UNLEADED                          P9366004R00ZFM8XT              0566133         $         5.08
06/01         23650 VICTORY BLVD WOODLAND HILL CA          2.630 GAL UNLEADED                 P9366004T00Y28EZL              0090076         $        10.00
06/02         23650 VICTORY BLVD WOODLAND HILL CA          2.690 GAL UNLEADED                 P9366004S00Y3ZR0Z              0108191         $        10.23
06/03         23650 VICTORY BLVD WOODLAND HILL CA          4.260 GAL UNLEADED                 P9366004V00Y5531J              0120428         $        16.12
06/07         5134 KANAN RD AGOURA CA             6.051 GAL UNLEADED                          P9366004Z00ZLDP50              0616086         $        23.25
06/08         22295 MULHOLLAND HWY CALABASAS CA            5.000 GAL UNLEADED                 P9366005000YQBS1X              0196030         $        19.00
06/09         23650 VICTORY BLVD WOODLAND HILL CA         11.920 GAL UNLEADED                 P9366005100YE8REQ              0216002         $        43.38
06/14         5116 CHESEBRO RD AGOURA HILLS CA          4.050 GAL UNLEADED                    P9366005600Z60A0M              0464891         $        15.00
06/16         5116 CHESEBRO RD AGOURA HILLS CA          2.760 GAL UNLEADED                    P9366005800Z7GR3P              0480764         $        10.10
06/17         18101 VENTURA BLVD TARZANA CA          3.010 GAL SUPER                          P9366005900YPKQNE              0313858         $        10.01
06/17         5134 KANAN RD AGOURA CA             2.690 GAL UNLEADED                          P9366005900ZSH9LS              0680173         $        10.15
06/18         5116 CHESEBRO RD AGOURA HILLS CA                                                P9366005A00Z968WZ              0498303         $        20.48




                                                                                                                 Case 1:17-ap-01099-VK                         Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
SALES TAX
4.090 GAL UNLEADED
MISC.
MISC.
06/18         23650 VICTORY BLVD WOODLAND HILL CA          2.020 GAL UNLEADED                 P9366005A00YT748F              0330811         $         7.09
TOTAL CARD 0002                                                                                                                              $      279.68
06/04         PAYMENT - THANK YOU                                                             P9194004V09SAWVDL                              $      200.00-
06/19         LOYALTY REWARD                                                                                                                 $        3.65-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                      $         0.00
INTEREST CHARGED




                                                                                                                                                                Exhibit LLL pt.1 Page 91 of 100
TOTAL INTEREST FOR THIS PERIOD                                                                                                  $         0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015                          $0.00
Total Interest Charged in 2015                      $0.00
INTEREST CHARGE CALCULATION                                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                    Annual Percentage Rate (APR)           Balance Subject to Interest Rate               Interest Charge
PURCHASES
REGULAR                                                    24.99% (M)(V)                                    $0.00                              $0.00
CASH ADVANCES
REGULAR                                                    29.95% (M)(V)                                    $0.00                              $0.00
(V) = Variable Rate
Page 3 of 6




                                                                                                                                                                        EX. LLL - 090
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                    SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                            Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                  Payment Information
Previous Balance                                            $180.66           New Balance                                                                    $329.41
Payments                                                   -$200.00           Minimum Payment Due                                                             $25.00
Other Credits                                                -$4.52           Payment Due Date                                                        August 17, 2015
Purchases                                                 +$353.27
Cash Advances                                                +$0.00           Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                  +$0.00          date listed above, you may have to pay alate fee up to $35.
Interest Charged                                              +$0.00          Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                 $329.41           period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                    Case 1:17-ap-01099-VK                                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                               $0.00              If you make no additional          You will pay off the          And you will
Credit Limit                                                $800.00                charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                            $470.00
Cash Advance Limit                                          $100.00             Only the minimum payment                16 months                      $389
Available Cash Limit                                        $100.00           If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                      $0.00
Statement Closing Date                                  07/21/2015
Next Statement Closing Date                             08/21/2015
Days in Billing Cycle                                            32




                                                                                                                                                                                    Exhibit LLL pt.1 Page 92 of 100
Thank you for purchasing 90 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                     Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
06/20         22295 MULHOLLAND HWY CALABASAS CA      10.000 GAL UNLEADED                                   P9366005Q00YHB95T                    0248286           $        37.02
06/26         56 E THOUSAND OAKS BLVD THOUSAND OAKS CA 5.000 GAL UNLEADED                                  P9366005K00XS8TB4                    0006296           $        18.23
06/28         23650 VICTORY BLVD WOODLAND HILL CA    10.441 GAL UNLEADED                                   P9366005L00Z73KG5                    0476457           $        35.51
06/29         5116 CHESEBRO RD AGOURA HILLS CA      5.051 GAL UNLEADED                                     P9366005M00ZGWYR0                    0579136           $        18.28
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                     Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                      August 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                   $329.41
Past Due Amount                                                  $0.00
Minimum Payment Due                                            $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                                 PO BOX 183018
117                                                                                              COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0002500 0032941 0020000 00007575007350663 1317




                                                                                                                                                                                            EX. LLL - 091
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                                        Reference #                    Invoice #       Amount
07/01         5134 KANAN RD AGOURA CA             5.491 GAL UNLEADED                          P9366005P0103YGS0              0778878         $        20.34
07/04         5134 KANAN RD AGOURA CA             2.030 GAL UNLEADED                          P9366005S01061PT5              0800904         $         7.51
07/05         5134 KANAN RD AGOURA CA             3.020 GAL UNLEADED                          P9366005V0106FH64              0805424         $        11.18
07/06         23650 VICTORY BLVD WOODLAND HILL CA        11.000 GAL UNLEADED                  P9366005W00ZJFY9F              0595843         $        37.84
07/09         4770 LINCOLN BLVD MARINA DEL RE CA       3.000 GAL UNLEADED                     P9366005Z00XXD770              0039206         $        11.36
07/10         5134 KANAN RD AGOURA CA             3.140 GAL UNLEADED                          P936600610109P59S              0839381         $        14.16
07/12         5116 CHESEBRO RD AGOURA HILLS CA          4.000 GAL UNLEADED                    P9366006200ZTMSLM              0671172         $        17.23
07/14         5116 CHESEBRO RD AGOURA HILLS CA          9.240 GAL UNLEADED                    P9366006400ZSRYMB              0682682         $        40.65
07/16         3995 E THOUSAND OAKS THOUSAND OAKS CA           2.270 GAL UNLEADED              P93660066010FJWDT              0900894         $        10.00
07/17         5116 CHESEBRO RD AGOURA HILLS CA          4.000 GAL UNLEADED                    P9366006800ZXDZ8V              0710541         $        17.60
07/19         5116 CHESEBRO RD AGOURA HILLS CA         12.812 GAL UNLEADED                    P9366006900ZY7BFE              0718858         $        56.36
TOTAL CARD 0002                                                                                                                              $      353.27
07/06         PAYMENT - THANK YOU                                                             P9194005W0A0R7A2X                              $      200.00-




                                                                                                                  Case 1:17-ap-01099-VK                        Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
07/21         LOYALTY REWARD                                                                                                                 $        4.52-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                      $         0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                  $         0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015                           $0.00
Total Interest Charged in 2015                       $0.00
INTEREST CHARGE CALCULATION                                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                                     Annual Percentage Rate (APR)          Balance Subject to Interest Rate               Interest Charge
PURCHASES




                                                                                                                                                                Exhibit LLL pt.1 Page 93 of 100
REGULAR                                                    24.99% (M)(V)                                    $0.00                              $0.00
CASH ADVANCES
REGULAR                                                    29.95% (M)(V)                                    $0.00                              $0.00
(V) = Variable Rate
Page 3 of 6




                                                                                                                                                                        EX. LLL - 092
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                    SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                           Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                Payment Information
Previous Balance                                            $329.41         New Balance                                                                  $71.59
Payments                                                   -$330.41         Minimum Payment Due                                                          $25.00
Other Credits                                                -$0.85         Payment Due Date                                                  September 17, 2015
Purchases                                                   +$73.44
Cash Advances                                                +$0.00         Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00         date listed above, you may have to pay alate fee up to $35.
Interest Charged                                             +$0.00         Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                 $71.59          period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                  Case 1:17-ap-01099-VK                                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                              $0.00             If you make no additional          You will pay off the          And you will
Credit Limit                                               $800.00               charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                           $728.00
Cash Advance Limit                                         $100.00            Only the minimum payment                3 months                         $74
Available Cash Limit                                       $100.00          If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                     $0.00
Statement Closing Date                                  08/21/2015
Next Statement Closing Date                             09/20/2015
Days in Billing Cycle                                           31




                                                                                                                                                                                  Exhibit LLL pt.1 Page 94 of 100
Thank you for purchasing 17 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                   Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
07/23         5116 CHESEBRO RD AGOURA HILLS CA       6.000 GAL UNLEADED                                  P9366006D0100SDZ6                    0746081           $        25.92
07/24         5116 CHESEBRO RD AGOURA HILLS CA       5.020 GAL UNLEADED                                  P9366006F0101Y7VW                    0757815           $        21.69
07/25         5134 KANAN RD AGOURA CA          3.010 GAL UNLEADED                                        P9366006F010K63XR                    0938654           $        12.84
07/26         5116 CHESEBRO RD AGOURA HILLS CA       3.050 GAL UNLEADED                                  P9366006G0103EER1                    0773614           $        12.99
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                   Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                September 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                $71.59
Past Due Amount                                              $0.00
Minimum Payment Due                                        $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                               PO BOX 183018
117                                                                                            COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0002500 0007159 0033041 00007575007350663 1311




                                                                                                                                                                                          EX. LLL - 093
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                      Reference #                    Invoice #       Amount
TOTAL CARD 0002                                                                                                            $      73.44
08/03         PAYMENT - THANK YOU                                           P9194006R09NM9LPZ                              $      330.41-
08/21         LOYALTY REWARD                                                                                               $        0.85-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                    $        0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                $        0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015          $0.00
Total Interest Charged in 2015      $0.00
INTEREST CHARGE CALCULATION                                 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                     Annual Percentage Rate (APR)        Balance Subject to Interest Rate               Interest Charge
PURCHASES




                                                                                                  Case 1:17-ap-01099-VK                      Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
REGULAR                                     24.99% (M)(V)                                 $0.00                               $0.00
CASH ADVANCES
REGULAR                                     29.95% (M)(V)                                 $0.00                               $0.00
(V) = Variable Rate
Page 3 of 6




                                                                                                                                              Exhibit LLL pt.1 Page 95 of 100




                                                                                                                                                      EX. LLL - 094
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                          Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                Payment Information
Previous Balance                                           $71.59           New Balance                                                                   $118.36
Payments                                                  -$71.59           Minimum Payment Due                                                            $25.00
Other Credits                                              -$1.72           Payment Due Date                                                      October 17, 2015
Purchases                                                +$120.08
Cash Advances                                              +$0.00           Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00          date listed above, you may have to pay alate fee up to $35.
Interest Charged                                            +$0.00          Minimum Payment Warning: If you make only the minimum payment each
New Balance                                               $118.36           period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                  Case 1:17-ap-01099-VK                                           Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                             $0.00              If you make no additional          You will pay off the          And you will
Credit Limit                                              $800.00                charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                          $681.00
Cash Advance Limit                                        $100.00             Only the minimum payment                6 months                       $126
Available Cash Limit                                      $100.00           If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 09/20/2015
Next Statement Closing Date                            10/21/2015
Days in Billing Cycle                                          30




                                                                                                                                                                                   Exhibit LLL pt.1 Page 96 of 100
Thank you for purchasing 34 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                   Reference #                          Invoice #         Amount
CARD 0002 TRANSACTIONS
08/22         4441 VAN NUYS BLVD SHERMAN OAKS CA               8.331 GAL SUPER                           P9366007B00Z8VZGE                    0494930           $         30.00
08/29         23650 VICTORY BLVD WOODLAND HILL CA             13.000 GAL UNLEADED                        P9366007J00YWGMKK                    0365395           $         45.49
09/05         23650 VICTORY BLVD WOODLAND HILL CA             13.041 GAL UNLEADED                        P9366007T00Z6KJ74                    0471201           $         44.59
TOTAL CARD 0002                                                                                                                                                 $        120.08
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                   Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                     October 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                  $118.36
Past Due Amount                                                 $0.00
Minimum Payment Due                                           $25.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                               PO BOX 183018
117                                                                                            COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00826 0002500 0011836 0007159 00007575007350663 1315




                                                                                                                                                                                           EX. LLL - 095
Account: **** **** **** 0663
TRANSACTIONS (cont.)
Trans Date Description                                                      Reference #                    Invoice #       Amount
09/02         PAYMENT - THANK YOU                                           P9194007M09W01V92                              $           71.59-
09/20         LOYALTY REWARD                                                                                               $            1.72-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                    $         0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                $         0.00
2015 Totals Year-to-Date
Total Fees Charged in 2015          $0.00
Total Interest Charged in 2015      $0.00
INTEREST CHARGE CALCULATION                                 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                     Annual Percentage Rate (APR)        Balance Subject to Interest Rate               Interest Charge
PURCHASES
REGULAR                                     24.99% (M)(V)                                 $0.00                                $0.00




                                                                                                  Case 1:17-ap-01099-VK                         Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
CASH ADVANCES
REGULAR                                     29.95% (M)(V)                                 $0.00                                $0.00
(V) = Variable Rate
Page 3 of 6




                                                                                                                                                 Exhibit LLL pt.1 Page 97 of 100




                                                                                                                                                         EX. LLL - 096
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                          Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                               Payment Information
Previous Balance                                           $118.36         New Balance                                                                  $0.00
Payments                                                  -$118.36         Minimum Payment Due                                                          $0.00
Other Credits                                               -$0.00         Payment Due Date                                                 November 17, 2015
Purchases                                                   +$0.00
Cash Advances                                               +$0.00         Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                +$0.00         date listed above, you may have to pay alate fee up to $35.
Interest Charged                                            +$0.00         If you would like information about credit counseling services, call 1-877-337-8187.
New Balance                                                 $0.00




                                                                                                                Case 1:17-ap-01099-VK                                           Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
Past Due Amount                                             $0.00
Credit Limit                                              $800.00
Available Credit                                          $775.00
Cash Advance Limit                                        $100.00
Available Cash Limit                                      $100.00
Amount Over Credit Limit                                    $0.00
Statement Closing Date                                 10/21/2015
Next Statement Closing Date                            11/20/2015
Days in Billing Cycle                                          31
Remember you earn 5 cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel,
including Shell Nitrogen Enriched Gasolines, every month and see the savings.




                                                                                                                                                                                 Exhibit LLL pt.1 Page 98 of 100
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                Reference #                          Invoice #         Amount
10/07         PAYMENT - THANK YOU                                                                     P9194008R09E24S4E                                      $        118.36-
FEES
TOTAL FEES FOR THIS PERIOD                                                                                                                      $            0.00
INTEREST CHARGED
TOTAL INTEREST FOR THIS PERIOD                                                                                                                  $            0.00
SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                  Page 1 of 4                                          This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
Payment Due Date                                November 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
New Balance                                                 $0.00
Past Due Amount                                             $0.00
Minimum Payment Due                                         $0.00
Statement Enclosed
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                             PO BOX 183018
117                                                                                          COLUMBUS OH 43218-3018
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0000000 0000000 0011836 00007575007350663 1318




                                                                                                                                                                                         EX. LLL - 097
Account: **** **** **** 0663
2015 Totals Year-to-Date
Total Fees Charged in 2015           $0.00
Total Interest Charged in 2015       $0.00
INTEREST CHARGE CALCULATION                                  Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                     Annual Percentage Rate (APR)        Balance Subject to Interest Rate             Interest Charge
PURCHASES
REGULAR                                   24.99% (M)(V)                                   $0.00                              $0.00
CASH ADVANCES
REGULAR                                   29.95% (M)(V)                                   $0.00                              $0.00
(V) = Variable Rate
shellcreditcard.accountonline.com
Page 3 of 4




                                                                                                   Case 1:17-ap-01099-VK                      Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                                                                                                                                               Exhibit LLL pt.1 Page 99 of 100




                                                                                                                                                       EX. LLL - 098
Account Statement
Send Notice of Billing Errors and Customer Service Inquiries to:
Customer Service:                                   SHELL
PO BOX 6406, SIOUX FALLS, SD 57117
shellcreditcard.accountonline.com
Account Inquiries:                                           Account Number: 007 350 663
1-800-331-3703
Summary of Account Activity                                                Payment Information
Previous Balance                                             $0.00          New Balance                                                                 $254.45
Payments                                                    -$0.00          Minimum Payment Due                                                          $25.00
Other Credits                                               -$4.33          Payment Due Date                                                   December 17, 2015
Purchases                                                +$258.78
Cash Advances                                               +$0.00          Late Payment Warning: If we do not receive your minimum payment by the
Fees Charged                                                 +$0.00         date listed above, you may have to pay alate fee up to $35.
Interest Charged                                             +$0.00         Minimum Payment Warning: If you make only the minimum payment each
New Balance                                                $254.45          period, you will pay more in interest and it will take you longer to pay off your




                                                                                                                  Case 1:17-ap-01099-VK                                          Doc 50-6 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
balance. For example:
Past Due Amount                                              $0.00             If you make no additional          You will pay off the          And you will
Credit Limit                                               $800.00               charges using this card        balance shown on this end up paying an
and each month you pay... statement in about... estimated total of...
Available Credit                                           $545.00
Cash Advance Limit                                         $100.00            Only the minimum payment                12 months                      $289
Available Cash Limit                                       $100.00          If you would like information about credit counseling services, call 1-877-337-8187.
Amount Over Credit Limit                                     $0.00
Statement Closing Date                                 11/20/2015
Next Statement Closing Date                            12/21/2015
Days in Billing Cycle                                           30




                                                                                                                                                                                  Exhibit LLL pt.1 Page 100 of 100
Please note that if we received your pay by phone or online payment between 5 p.m. ET and midnight ET on the last day of your billing period, your
payment will not be reflected until your next statement.
Thank you for purchasing 87 gallons of Shell fuel this month. Your savings are reflected on this statement. Remember you earn 5
cents on every gallon, every time, every fill up. Use your Shell Drive for Five Card to purchase Shell Fuel, including Shell Nitrogen
Enriched Gasolines, every month and see the savings.
Please update your phone number, including cell phone number on the back of the payment coupon.
TRANSACTIONS
Trans Date Description                                                                                   Reference #                          Invoice #         Amount
CARD 0003 TRANSACTIONS
10/21         5134 KANAN RD AGOURA CA                  2.040 GAL UNLEADED                                P9366009700Y17YYB                    0079426           $         6.21
10/24         6801 BALBOA BLVD VAN NUYS CA                13.031 GAL UNLEADED                            P9366009A00ZMYKWL                    0632109           $        38.82
8 SH 13
PLEASE SEE IMPORTANT INFORMATION ON PAGES 2 AND 4.                   Page 1 of 6                                            This Account is Issued by Citibank, N.A.
ê Please detach and return lower portion with your payment to insure proper credit. Retain upper portion for your records. ê
Your Account Number is 007 350 663
We want to inform you that the                     Payment Due Date                                  December 17, 2015
PO BOX 6406
SIOUX FALLS, SD 57117-6406
Payment Remittance Address                        New Balance                                                 $254.45
for this account has changed to:                    Past Due Amount                                                $0.00
PO BOX 9001011                              Minimum Payment Due                                         $25.00
Statement Enclosed
LOUISVILLE, KY 40290-1011
Please make any necessary updates
to any automatic bill payments.
Please print address changes on the reverse side.
Make Checks Payable to
SHELL
ROBIN C DIMAGGIO                                                                               PO BOX 9001011
117                                                                                            LOUISVILLE, KY 40290-1011
5737 KANAN RD
AGOURA HILLS, CA 91301-1601
00800 0002500 0025445 0011836 00007575007350663 1317




                                                                                                                                                                                          EX. LLL - 099
